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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                                 EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division                  1!


UNITED STATES OF AMERICA


    V.                                                UNDER SEAL


ISHMIL HARDWICK,                                      Case No. 1:17-mj-570
    a/k/a"Ish"
    a/k/a"Rico"                                       The Hon. Theresa Carroll Buchanan


    Defendant.


                           AFFIDAVIT IN SUPPORT OF A
                   CRIMINAL COMPLAINT AND ARREST WARRANTS

         I, Michael A. Femald, being duly sworn, do hereby depose and state as follows:

                                 Introduction and Agent Background


         1.     I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives ("ATF") and have been so employed since 2014. I am currently assigned to the Falls

Church II Field Office within the Washington Field Division. Prior to my employment with

ATF, I was a sworn police officer in the Commonwealth of Virginia from 2003 to 2014 and

served in multiple capacities.

         2.     During the course of my career, I have participated in the investigation of

narcotics traffickers and possessors. Many of these investigations led to the arrest and

conviction of narcotics dealers. In the course of conducting these investigations, I have used

several different kinds of investigative techniques, including: interviewing informants and

cooperating sources; conducting physical surveillance; conducting short-term and long-term

undercover operations, including reverse undercover operations; consensual monitoring and

recording ofboth telephonic and non-telephonic communications; analyzing telephone pen
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register and caller identification data; conductingcourt-authorized electronic surveillance;

preparing and executing search warrants, which have led to substantial seizures of narcotics,

firearms, contraband, and drug related assets; and, the analysis of financial documents and

records.


        3.     I submit this affidavit in support of a criminal complaint and arrest warrant for

ISHMIL HARDWICK (a/k/a "Ish," a/k/a "Rico") for knowingly possessing a firearm, that is a

Glock .40caliber pistol, in furtherance of a drugtrafficking crime for which he maybe prosecuted

in a court of the United States, that is conspiracy to distribute and possess with the intent to

distribute a mixture and substance containing a detectable amount of fentanyl, a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 846, all

in violation of Title 18, United States Code, Section 924(c).

       4.      This affidavit contains information necessary to support probable cause. The

information contained in this affidavit is not intended to include each and every fact and matter

observed by me or known to the government. The facts in this affidavit come from my personal

observations, my training and experience, and information obtained from other agents, law

enforcement officers and witnesses. This affidavit is intended to show merely that there is

sufficient probable cause for the requested warrants and does not set forth all of my knowledge

about this matter.


       5.      During the course of this investigation, law enforcement debriefed and used

multiple cooperating sources. Regardless of the cooperating sources' gender, they will be

referred to in the masculine gender. The cooperating sources have proven to be reliable and

credible.
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I.     Background on the Imperial Gangsta Blood Street Gang

       A.      The United Blood Nation


       6.      Basedon my research and information providedto me by cooperating sources, the

United Blood Nation ("UBN") on the East Coast was establishedin 1993 on Rikers Island. UBN

was formed to combat the oppression of all black people by the Latin Kings and Nietas. It is an

associationof independent, structured groups ("Hoods") operatingboth in and outside of prison.

There are four different "Nations" makingup the UnitedBloodNation ("UBN"). The Nations of

the UBNcurrently include: (1) New York BloodBrimArmy(N.Y.B.B.A.); (2) Almighty Blood

Stone Villain Nation (A.B.S.V.N.); (3) New York Bloods (N.Y.B.); and, (4) United Stone

Gorilla Nation (U.S.G.N.). The UBN has a council composed of a Godfather (highest-ranking

member) for every UBN Hood and all Hoods have an equal vote on matters pertaining to the

UBN as a whole. A committee of Godfathers also exists to provide guidance to the UBN. The

UBN is reportedly in the midst of a reorganization, where poor performing Hoods are being

"clapped" or incorporated into a higher performing Hoods. There were eight (8) original Hoods

in the UBN. The UBN now consists of twelve (12) Hoods, including: (1) Imperial Gangsta

Bloods ("IGB"); (2) 9-Trey Gangsta Bloods; (3) G-Shine Bloods; (4) 3 Street Gangsta Bloods;

(5) Valentine Bloods; (6) Bricket Hunter Bloods; (7) Double 9 Gangstas; (8) East Gangsta

Bloods; (9) Murderous Mad Dogs; (10) 5 Star Gangsta Bloods; (11) Fayette Street Mobb; and

(12) Gangland Gangsta Bloods.

       7.      According to the National Drug Intelligence Center, most UBN sets derive illicit

proceeds from the distribution of cocaine hydrochloride, cocaine base, heroin, and marijuana.

UBN members are known by law enforcement to transport large quantities of drugs for

distribution throughout the east coast. According to estimates, the UBN may exceed 7,000
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members. Most members are African American males; however, many sets will recruit members

of other races and ethnic backgrounds. Historically, female members and associates take active

roles by holding drugs and firearms for members.

       B.      The Imperial Gangsta Bloods


       8.      The IGB (also knownas "Str8 Gangsta") has its own history, oath, pledge and

rules in addition to the UBN's. IGB was "birthed" on March 27, 2002, in Comstock, New York.

The IGB Oath is, "I take this oath as my life to IGB, a chapterof UBN, to respectmy brotherand

sister and to trust in them. To honor my Nation with loyalty and love as Royalty should, with

my flag on my side and five in my stride. My neighborhood be Imperial." The IGB Pledge is, "I

take this pledge to IGB,representing strengthand understanding to bring for nobilityand

righteousness. To guide my hood effectively, with wisdom and honor, to stand strong in the face

of all adversaries. I be that Imperial Gangsta Blood." The five royal rules of the IGB are (1)

communicationis an absolute must, (2) absolutely no cowardly act, (3) obey all orders given, (4)

never deny royalty, and (5) never leave royalty in a battle.

       9.      Every Hood in the UBN is allowed to have five (5) sub-districts. The IGB sub-

districts include: (1) Blood Line Imperial; (2) B Gang Imperial; (3) Gangsta Blood Imperial;

(4) Blood Money Imperial; and, (5) Mob Style Imperial.

       10.     Like UBN, IGB members greet each other with a universal handshake and then

display their particular Hood's hand sign. Members will say "Peace Blood" or "Peace

Almighty" while performing the handshake.

       11.     As stated above, the IGB are a Hood within the UBN and therefore its

organization is similarly structured. The IGB organization from lowest to highest rank is: Foot

Solider or Scrap, Green Light, 1-Star General or Minister of Communication, 2-Star General or
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Minister of Education, 3-Star General or Minister of Security, 4-Star General or Minister of

Finance, 5-Star General or Minister of War. In addition, IGB has the ranks of Low 020, High

020, and Godfather. Members also use code words to conceal the rank held by individuals.

Within IGB, the Low 020 is referred to as the "Noble" and the High 020 is referred to as the "G

Noble." Members that hold a rank above Low 020 will not participate in gang war as they are

considered leadership. The rank structure within IGB carries authority only within theirspecific

geographic area. IGB members who are well knownto members in multiple geographic areas

and known to travel frequently can be given "World Wide" status. World Wide status means

that their rank and level of authority carries to whatever geographic area they are physically

present in.

II.     Background on the Investigation


        12.    In March 2017, the ATF and the Federal Bureau of Investigation ("FBI") began

jointly investigating the IGB within the Northern Virginia area and elsewhere. IGB members are

known by law enforcement to be involved in narcotics distribution, firearms trafficking, home

invasions, robberies, assaults, and homicides in Virginia, the District of Columbia, and

Maryland.

        13.    In February 2017, a cooperating source ("CS-1") reported to the Prince William

County Police Department that TARVELL VANDIVER ("VANDIVER") was a narcotics

distributor. CS-1 is an IGB member. CS-1 will be referred to in the masculine gender,

regardless of CS-Ts true gender. CS-1 has been convicted of two felonies, including robbery

and a probation violation. CS-1 was arrested in December of 2016, in Maryland, for possessing

a stolen firearm as a convicted felon and possession of controlled substances. CS-1 originally

cooperated because he hoped to receive a lesser sentence. Based on CS-1 's cooperation, his
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charges were dismissed. CS-1 continuesto cooperatebecause he is being compensated. CS-1

also hopes to be relocated.

          14.   CS-1 informed law enforcement that members of the IGB located in Northern

Virginia and their associates were involved in the distribution of controlled substances, firearms,

and have committed acts of violence, including armed home invasions, robberies, and murder.

CS-1 has purchasedcocaine from VANDIVERsince 2014. VANDIVERwas identifiedby CS-1

as an IGB member of high rank. VANDIVER taught CS-1 how to manufacture cocaine base.

CS-1 also informed law enforcement that VANDIVER's stepfather, RASHOURN NILES

("NILES"), is VANDIVER's primary source of supply for controlled substances.

III.      Northern Virginia IGB Members in this Investigation


          15.   According to CS-1, the defendants charged in this or one of the related complaints

hold the ranks or positions listed below. CS-1 informed law enforcement that the IGB in this

area use slightly different rank names than the ranks described in the previous section. Their

roles and responsibilities remain similar.

          16.   VANDIVER is one of the lead targets of this investigation and law enforcement

identified him as holding the IGB rank of HIGH 020. VANDIVER is reported to be the superior

in this region. VANDIVER coordinates with leadership in multiple states, oversees the set, calls

for regional and local meetings, and acts as the disciplinary officer for the set.

          17.   CS-1 holds the rank of 4-Star General and was appointed the treasurer for the

region.

          18.   BRANDON EDLER (also known as "Livewire") is a scrap or foot soldier. CS-1

reported EDLER has no authority in the gang and cannot invite new members to join. EDLER

cannot serve as a mentor or "Big Homie."
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IV.     Law Enforcement Contact with northern Virginia IGB Members and Associates

        19.   In September 2008, the ATF arrested NILES for conspiracy to distribute cocaine

base (also known as "crack" cocaine). NILES pleaded guiltyin the Eastern District of Virginia

to gunand drugcharges and was sentenced. NILES was interviewed and admitted to being

involved in the distribution of controlled substances since early 2005. NILES admitted he began

selling marijuana in 2005 and cocaine hydrochloride and cocaine base in or around 2006. From

fall 2006 to fall 2008, NILES estimated he sold on average 4.5 ounces of cocaine base per week.

NILES also admitted to providing VANDIVER with 1/8ounce quantities of cocaine base at the

time.


        20.   In April 2009, a victim contacted PWCPD and statedhe had ordered a quantity of

marijuana from a co-conspirator ("Co-Conspirator1"). When the victim entered Co-Conspirator

1's vehicle, he was "shocked" with a stun gun by Co-Conspirator 1's friend "VEL." The victim

reported he was punched, kicked, and "shocked" multiple times by Co-Conspirator 1 and "VEL."

The victim reported he knew "VEL" to be regularly armed with a firearm. "VEL" is one of

VANDIVER's known aliases. VANDIVER and Co-Conspirator 1 currently reside together at

1288 Bayside Avenue #11, Woodbridge, Virginia and continue to distribute controlled

substances from the residence.


        21.   In November 2014, the Rappahannock Area Gang Information network received

intelligence that monthly IGB gang meetings had been taking place at VANDIVER's home in

Dumfries, Virginia. VANDIVER was reportedly living with another IGB member and traveling

often to Norfolk, Virginia, and New York. The source stated that VANDIVER was a 5-Star

General and that PLATINUM (who is CS-1) was a 1-Star General.
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       22.     In January 2015, the FBI obtained information aboutthe IGB and UBN beingre

organized into five "branches" in Virginia, eachwith its own leadership. The source of

information reported VANDIVER had beenpromoted to the Low 020position in Northern

Virginia. The source also identified MONTREUS PETERSON ("PETERSON") and

PLATINUM (CS-1) as members of the IGB.

       23.     In April 2015, the PWCPDresponded to a shooting incident in Woodbridge,

Virginia, in which three individuals werestruckwith bullets. During the investigation, PWCPD

learned there was a birthday party on Filarette Street. A group of individualsarrived at the party

and wanted to enter. When the individuals were denied entry, the group became confrontational

and claimed that as Bloods members they were owed more respect. Shortly after the

confrontation, one of the Bloods members entered a vehicle and fired multiple gunshots in the

direction of the residence and struck three individuals as the vehicle was driving away. A source

came forward to PWCPD and identified a Bloods member ("Unnamed IGB Member 1") and

another individual as being involved in the shooting. Forensic evidence led investigators to

believe there was one shooter because all casings recovered from the scene were fired from the

same .40 caliber firearm.


       24.     Days later in April 2015, the PWCPD stopped a vehicle in Dumfnes, Virginia,

and encountered ISHMIL RYSHEEM HARDWICK ("HARDWICK") and Unnamed IGB

Member 1. PWCPD officers detected an odor of marijuana emanating from the vehicle, which

resulted in the occupants of the vehicle being detained. Law enforcement then conducted a

probable cause search of the vehicle. Unnamed IGB Member 1 was the front passenger and

HARDWICK was a rear passenger of the vehicle. Inside the unlocked glove box, PWCPD

personnel located and seized a Raven .25 caliber pistol, a Rossi .38 caliber revolver, a quantity of
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suspected cocaine, and a quantity of marijuana. A round of .38 caliber ammunition was located

under the rear passenger seat where HARDWICK was seated.

       25.     hi June 2015, the Washington, D.C. Metropolitan Police Department ("MPD")

responded to a shooting in the area of Galveston Place, S.W. Upon their arrival, a Bloods

member ("UnnamedIGB Member 2") was found deceased from multiple gunshot wounds.

Unnamed IGB Member 2 was reportedly a drug distributor.

       26.     In July 2015, the PWCPD responded to a residence on Port Hope Point in

Triangle, Virginia, for a shootinginto an occupied dwelling. A subjecthad knocked on the door

of an individual's home ("Individual 1") asking for a family member, who was one of the MPD

murder suspects for the murder mentioned in the previous paragraph. Individual 1 did not

answer the door and the next day unknown subjects fired at the residence.

       27.     Also in July 2015, the PWCPD stopped a vehicle for an expired registration and

upon approaching the vehicle, PWCPD personnel detected an odor ofmarijuana emanating from

the vehicle. Unnamed IGB Member 1 was the driver of the vehicle and did not have a valid

operator's license. Upon being removed from the vehicle and detained, another occupant fled

the vehicle. When law enforcement apprehended the passenger, law enforcement seized a stolen

Smith &Wesson 9mm pistol from the passenger's waistband.

       28.     In early August 2015, SADE ANGLIN ("ANGLIN") showed up at Individual 1's

employer and got into a physical altercation with Individual 1. Several days later, both women

got into another altercation at a bar in Woodbridge. More specifically, Individual 1 and another

individual ("Individual 2") were at a bar, when Individual 2 received a text that she and her

friend needed to leave because something was going to happen them. When Individual 2 and her

friend approached their vehicle, they realized one of their tires had been slashed. Individual 1
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reported to law enforcement that she observed VANDIVER, ANGLIN, andother individuals

walking towards them. Individual 1 stated that shethen grabbed a box cutter forprotection when

she was punched by a male. Individual 1 reported she fell unconscious and awoke to ANGLIN

punching and kicking her. Individual 1 reported to PWCPD that she picked up the box cutter

and started swinging it to get her attackers away. ANGLIN's brotherthen grabbed Individual 1

and caused her to drop the box cutter again. ANGLIN then began punching and kicking her

again. Individual 1 also reported VANDIVER punched her in the face.

          29.   In November 2015, the PWCPD again encountered Unnamed IGB Member 1 in

Woodbridge, Virginia. The PWCPD had received a narcotics tip in the area of Wrangler Lane

and upon their arrival in the area detected an odor of marijuana. PWCPD personnel made

contact with two individuals, including Unnamed IGB Member 1, who was observed leaning

into a parked vehicle. Unnamed IGB Member 1 was observedmaking a furtive gesture from his

left inside shoulder area of his jacket to the interior of the vehicle. PWCPD personnel detained

Unnamed IGB Member 1 and conducted a search of his person and the vehicle. Law

enforcement identified an empty firearm holster under Unnamed IGB Member 1's shoulder.

Inside the vehicle, PWCPD personnel located and seized a Springfield Armory XD .40 caliber

pistol.

          30.   In November 2015, the PWCPD were dispatched to a report of a brandishing of a

firearm. The suspect was identified as a member of the Bloods; however, the Victim

("Individual 3") did not want to file charges out of fear of retaliation. Individual 3 informed law

enforcement about a shooting at a party on Filarete Street in which several individuals "got shot

up." Individual 3 identified Unnamed IGB Member 1 as the shooter and fiirther reported hearing

Unnamed IGB Member 1 brag about being responsible for the 89th and 90th murders in
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Washington, D.C, Individual 3 grew up with Unnamed IGB Member 1. Individual 3 stated that

UnnamedIGB Member 1 had also reported he was present when Unnamed IGB Member 2 was

killed in June 2015. Individual 3 furtherreportedUnnamed IGB Member 1 was trying to make a

name for himself within the Bloods.


       31.     In April 2016, the PWCPD received information on IGB working with another

area gang. IGB was reported to be working with SQAD, a reported music production group.

Members were involved in narcotics and firearm distribution, robbery, home invasions, and theft.

VANDIVER allegedly provided the firearms observed in music videos and NASIRU CAREW

("CAREW) allegedly supplied the money for the production. CAREW is knovm to be the head

of I Got Me ("IGM"), which is a drug distribution network out of San Diego, California.

       32.     In October 2016, the PWCPD received information that VANDIVER was a 5-Star

General with the IGB. The source of information stated VANDIVER has females rent

apartments under their names. The source stated VANDIVER would carry narcotics attached to

his scrotum to avoid detection by law enforcement. The source also provided information on

individuals reported to be VANDIVER's "inner circle." CAREW was part of this inner circle

and was reported to be a narcotics source with ties to California.

       33.     In December 2016, the PWCPD conducted a knock and talk at a residence on

Greendale Drive in regards to HARDWICK. The PWCPD received information that

HARDWICK was distributing controlled substances from the residence and had stolen guns

from an elderly resident. When they made contact with the owner of the home, he told PWCPD

that HARDWICK was no longer allowed at the residence because he had stolen firearms from

his residence. The stolen firearms included a Smith & Wesson .40 caliber pistol and a Colt 1911


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.45 caliber pistol. HARDWICK told the homeowner he was a "lick" (common streetterm for a

robbery).

V.      Probable Cause


        34.    During the course ofthis investigation, law enforcement coordinated numerous

controlled purchases of controlled substances from, or through, VANDIVER. In each instance

where a cooperating source conducted a law enforcement directed purchase of controlled

substances, the cooperating source was searched for contraband before and after the transaction.

During each transaction, audio and/or video recorders were used in conjunctionwith law

enforcement surveillance. Further, all of the controlled substances purchased were submitted for

laboratory testing. Below, I do not detail each and every purchase of controlled substances;

rather, I focus only on the significantpurchases for the purposes of this affidavit. However, the

below table does detail each law enforcement directed purchase in this investigation, including

controlled purchases for all controlled substances; though, in this affidavit I will only seek a

charge for conspiracy to distribute cocaine or cocaine base (depending on the defendant). Both

substances are Schedule II controlled substances.




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  1           03/02/2017               Cocaine             27.71 grams                    Cocaine HCL


 2            03/11/2017               Cocaine             27.92 grams                    Cocaine HCL


 3            03/23/2017               Cocaine             55.75 grams                    Cocaine HCL


 4            03/28/2017                Heroin              3.55 grams                      Fentanyl

 5            03/30/2017               Cocaine             123.12 grams                   Cocaine HCL


 6            03/30/2017                Heroin              3.44 grams                   Fentanyl/Heroin

 7            04/06/2017             Cocaine Base          108.82 grams                   Cocaine Base


 8            04/06/2017               Cocaine             27.92 grams                    Cocaine HCL


 9            04/25/2017                Heroin             75.17 grams                   Fentanyl/Heroin

 10           05/02/2017                Heroin             86.40 grams                       Heroin


 11           05/04/2017             Cocaine Base          185.10 grams                   Cocaine Base


 12           05/09/2017               Cocaine             27.98 grams                    Cocaine HCL


 13           05/10/2017             Cocaine Base          14.58 grams                    Cocaine Base


 14           05/17/2017             Cocaine Base          25.75 grams                    Cocaine Base


 15           05/18/2017              Marijuana            41.08 grams                     Marijuana

 16           05/24/2017             Cocaine Base          41.08 grams                    Cocaine Base


 17           05/25/2017               Heroin              54.31 grams                       Heroin


 18           06/01/2017               Heroin              49.49 grams                       Heroin


 19           06/02/2017             Cocaine Base          41.97 grams                    Cocaine Base


 20           06/08/2017             Cocaine Base          32.73 grams                    Cocaine Base


 21           06/15/2017               Heroin              46.61 grams                       Heroin


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                 06/16/2017        Cocaine Base          55.35 grams            Cocaine Base


     23          06/22/2017        Cocaine Base         66 grams est.           Lab Pending

     24          07/06/2017        Cocaine Base         29 grams est.           Lab Pending

     25          07/26/2017        Cocaine Base          27.40 grams            Cocaine Base


     26          07/27/2017          Marijuana          1,266.9 grams            Marijuana

     27          08/11/2017        Cocaine Base          54.13 grams            Cocaine Base


     28          08/17/2017        Cocaine Base          52.81 grams            Cocaine Base


     29          08/31/2017        Cocaine Base         369.89 grams            Cocaine Base


     30          10/30/2017        Cocaine HCL          505 grams est.          Lab Pending

     31          11/09/2017            Heroin           43 grams est.           Lab Pending


          A.    Controlled Purchase of Cocaine from VANDIVER on March 2. 2017


          35.   On March 2, 2017, CS-1, at law enforcement direction, contacted VANDIVER

and ordered one (1) ounce of cocaine. VANDIVER traveled with CS-1 to a residence located on

East Longview Drive in Woodbridge, Virginia, within the Eastern District of Virginia. Inside

the apartment, CS-1 observed a black pistol in plain view sitting on a table in the living room.

VANDIVER retrieved approximately three (3) ounces of cocaine from a suitcase in the living

room, separated one (1) ounce of cocaine from the larger quantity, and provided it to CS-1. CS-1

in return paid $1,300 in documented fimds to VANDIVER. After the transaction, law

enforcement displayed a photograph of VANDIVER to CS-1 and CS-1 positively identified him.

The cocaine was submitted to the Drug Enforcement Administration ("DEA'*) Mid-Atlantic

Laboratory and tested positive for 27.71 grams of cocaine hydrochloride.

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       B.      IGB Gang Meeting and Controlled Purchase of a Firearm and Cocaine on March
               11.2017


       36.     On March 8, 2017, CS-1 reported to law enforcement that there would be an IGB

gang meeting on March 11, 2017. CS-1 reported VANDIVER would be at the meeting andthat

he wouldbe able to purchase cocaine from him. On March 11, 2017, the meeting took place at

the Hilton Garden Inn, which is located on 2500 Neabsco Common Place, Woodbridge, Virginia.

       37.     Prior to the gang meeting, CS-1 granted law enforcement access to the hotel room

to place audio/video recorders in the room. Based on law enforcement's review of the recording,

CS-1's description of the events and conversations at the gang meeting was accurate.

       38.     Prior to other IGB members arriving to the hotel room, CS-1 and VANDIVER

discussed firearms. VANDIVER reported he knew whom to call in order to obtain a firearm.

VANDIVER then called HARDWICK (also known as "Ish") via FaceTime and negotiated a

price for a firearm that HARDWICKwas willing to sell. HARDWICKreported to CS-1 and

VANDIVER that he had paid $400 for the firearm and had purchased a magazine for the firearm.

CS-1 and HARDWICK agreed to a price of $500 for the firearm.

       39.     Based on a review of HARDWICK's criminal history, law enforcement

determined that HARDWICK has been convicted of multiple offenses in the Commonwealth of

Virginia, which exposed him to more than one year of incarceration, including a conviction in

Prince William County Circuit Court ofpossession with intent to distribute a Schedule I or II

controlled substance, in violation of Code of Virginia § 18.2-248. HARDWICK is therefore

prohibited firom possessing firearms under federal law.

       40.     The meeting started later in the evening and was audio and video recorded by law

enforcement. Several IGB members attended the meeting, including, but not limited to,

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VANDIVER, PETERSON (also known as "Impact"), HARDWICK, BRANDON EDLER (also

known as "Livewire"), Unnamed IGB Member 3 and others.

       41.     During this meeting, gang members discussed trafficking firearms to New York.

Further, the gang members discussed ripping up the flooring of vehicles to conceal firearms.

Several gang members arrived prior to HARDWICK, who law enforcement observed arrive at

approximately 6:05 p.m. HARDWICK entered the hotel room and removed a black pistol firom

his waistband. HARDWICK handed the firearm to CS-1, while discussing other firearms. CS-1

paid HARDWICK the agreed upon $500.

       42.     After CS-1 took possession of the firearm, several gang members also possessed

the firearm, including PETERSON. Law enforcement reviewed the video of the meetingand

confirmed that PETERSON held the firearm. Based on a review of PETERSON'S criminal

history, it was determined that PETERSON has been convicted of multiple offenses in the

Commonwealth of Virginia, which exposed him to morethan one year of incarceration,

including a conviction in Prince William County Circuit Court of possession withintent to

distribute a Schedule I or II controlled substance, in violation of Code of Virginia § 18.2-248.

       43.     Later that evening, CS-1 and VANDIVERleft the hotel in CS-1 's vehicle. Law

enforcement followed CS-1 fi^om the hotel to a Wal-Mart parking lot located on Worth Avenue.

CS-1 stated that VANDIVER called his "molly" (also known as

methylenedioxymethamphetamine or MDMA) source of supplyand that VANDIVER was told

to meet at that location. While CS-1 and VANDIVER waited in the vehicle, an individual

approached CS-l's vehicle and leanedthrough the open windowto speak with VANDIVER.

CS-1 later positively identified RASHOURN NILES from a DMV photograph, as being the

individual who leaned through CS-1 's window to speak with VANDIVER. NILES made a
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statementto VANDIVER to the effect of "you know what I drive," followedby a descriptionof

where his vehicle wasparkedwithinthe parking lot. CS-1 drove VANDIVER to the specified

location where he reported VANDIVERentered a black BMW SUV ("Subject Vehicle 1"),

retrieved an unknown quantity of molly, and left cash payment for the mollywithinthe vehicle.

       44.     After departing the Wal-Mart parking lot, CS-1 and VANDIVER drove to a

residence located on Bayside Avenue in Woodbridge and entered a co-conspirator's ("Co-

Conspirator 2") apartment. Inside the apartment, CS-1 purchased one (1) ounce of cocaine for

$1,300 in documented funds from VANDIVER. The cocaine was later submitted to the DEA

Mid-Atlantic Laboratory and tested positive for 27.92 grams of cocaine hydrochloride.

       45.     CS-1 reported that HARDWICK also arrived at the apartment to pick-up a

quantity of cocaine. VANDIVER and HARDWICK had worked out a deal in which

HARDWICK brought $140 in alcohol and VANDIVER paid him back double that amount in

cocaine. CS-1 also reported VANDIVER provided Co-Conspirator 2 with cocaine. CS-1 stated

that Co-Conspirator 2 sold cocaine and cocaine base from his apartment and allowed

VANDIVER to sell and store cocaine in the apartment.

       46.     CS-1 learned the molly purchased by VANDIVER from NILES and a quantity of

cocaine were for EDLER. An additional quantity of molly was for PETERSON as well.

       47.     CS-1 later turned over the firearm he purchased from HARDWICK to law

enforcement. The firearm is a Walther model PPX 9mm pistol. Based upon my training and

experience, I know the Walther pistol to be a firearm as that term is defined imder Title 18,

United States Code, Section 921(a)(3).




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       C.      Controlled Purchase of Cocaine from VANDIVER on March 23. 2017

       48.     On March 23, 2017, CS-1, at law enforcement direction, contacted VANDIVER

to order two (2) ounces of cocaine. VANDIVER instructed CS-1 to meet him at a restaurant in

Woodbridge. Law enforcement observed VANDIVER meet with NILES, who was driving

Subject Vehicle 1, at a gas station adjacent to the restaurant. CS-1 then met with VANDIVER

and they both departed the area in VANDIVER's vehicle. VANDIVER reported Unnamed IGB

Member 3 had just purchased an ounce of cocaine from VANDIVER and PETERSON was

going to buy an ounce in the future. VANDIVER also reported to CS-1 that the firearm

Unnamed IGB Member 1 was caught with belonged to VANDIVER. VANDIVER went on to

say, "Pm not talking about the body, I'm talking about the strap (firearm)." VANDIVER stated

it was, "One of my clean straps that I bought from [Individual 4]. [Individual 4] bought it from

his white boy out the gun store, the clean joints." Individual 4 had been recently arrested during

an NYPD investigation into firearms trafficking to NY.

       49.     VANDIVER drove with CS-1 to an address located on Bellona Road in

Woodbridge. Inside the apartment, VANDIVERreported to CS-1 that he had just met with his

stepfather (NILES) before meeting CS-1. SADE ANGLIN (also known as "Pooh") is the tenant

in this apartment, CS-1 reported ANGLIN has a relationship with VANDIVER. CS-1 further

reported ANGLIN kept a "draco" pistol in the residence. When CS-1 and VANDIVER entered

ANGLIN's apartment, VANDIVER removed a bag containing cocaine from his person.

VANDIVER and CS-1 then went to a bedroom where a scale was sitting out in the open on top

of a piece of furniture. VANDIVER had a little over two (2) ounces of cocaine, which they

weighed out. CS-1 agreed to purchase the cocaine for $2,600 in documented funds. The cocaine


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was later submitted to the DEA Mid-Atlantic Laboratory and tested positive for 55.75 grams of

cocaine hydrochloride.

        50.    VANDIVERthen called a subject later identified as HARDWICK and informed

him that he's "got an eighth of that bitch (cocaine) left, you straight?" VANDIVERfiirther

stated, "Yeah, it's 3.8 too."

        51.    After leaving ANGLIN's apartment, VANDIVER and CS-1 drove to Ashdale

Plaza in Woodbridge. HARDWICKwas observed by law enforcementpulling into the same

parkinglot. CS-1 reportedHARDWICK met with VANDIVER and told him he was tryingto

obtain an ounce of cocaine. HARDWICK then reported he had a new source of heroin in the

city (D.C). HARDWICKstated that he sold the heroin in Virginia and made almost $1,000.

HARDWICK fiirther stated that he currently had eight (8) grams of heroin and would provide

VANDIVER a "trey five" (3.5 grams or 1/8 ounce commonly referred to as an 8-ball) for $300.

VANDIVER then sold his remaining 3.8 grams of cocaine to HARDWICK. After the

transaction, law enforcement followed HARDWICK to a residential area near Ferrara Terrace

and Filarete Street in Woodbridge, Virginia.

       D.      Controlled Purchase of Heroin from HARDWICK on March 28. 2017

       52.     On March 28, 2017, CS-1, at law enforcement direction, contacted HARDWICK

and ordered a quantity of heroin. When CS-1 arrived at the agreed meeting location,

HARDWICK was not present and did not answer his phone. CS-1 then contacted VANDIVER,

who provided CS-1 with HARDWICK's address on Ferrara Terrace. CS-1 attempted to make

contact with HARDWICK at the residence, however, HARDWICK did not answer. CS-1 then

met up with VANDIVER and entered VANDIVER's vehicle. HARDWICK eventually made

contact with CS-1 and VANDIVER and told them both to come by his residence later,
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       53.     While driving, VANDIVER made a FaceTime call to NILES and asked NILES if

he had more than the four and a half (cocaine). VANDIVER and CS-1 discussed purchasing a

quantity of cocaine together, which would cost CS-1 $5,400 for his share. VANDIVER reported

he would pick up the cocaine. VANDIVER then placed a call to ANGLIN and informed her that

he was stopping by. VANDIVER then drove to ANGLIN's residence and he entered along with

CS-1. VANDIVER, ANGLIN, and CS-1 entered a back bedroom where VANDIVER retrieved

an unspecified amount of cocaine that was stored in a shoebox in ANGLIN's closet. CS-1

reported it was the same bedroom that ANGLIN kept her "draco" pistbl in under the bed. CS-1

was also able to photograph what appearedto be multiple ounces of cocaine in a box stored

within a shoebox containing women's UGG boots.

       54.     Law enforcement confirmed ANGLIN did in fact purchase a Century Arms

Incorporated model C39 7.62x39 caliberpistol in July 2016. Thispistol is commonly referred to

as a "draco" pistol. CS-1 's description of the pistol was corroborated by her firearm transaction.

As explained above, CS-1 stated ANGLIN kept the pistol under her bed. Further, this was the

same bedroom cocaine was being stored in and a digital scale was present in.

       55.     It was evident to CS-1 that ANGLIN knew what was being stored in her

apartment and where it was located. ANGLIN also had childrenpresent in the apartment with

her.


       56.     VANDIVER and CS-1 departed ANGLIN's residence and then travelled to

HARDWICK's residence. HARDWICK then exited his residence and entered VANDFVER's

vehicle. HARDWICK provided CS-1 with approximately four (4) grams of heroin in return for

$300 in documented funds. The suspected heroin was later submitted to the DEA Mid-Atlantic

Laboratory and tested positive for 3.55 grams of fentanyl, a Schedule II controlled substance.
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       57.    After the transaction, law enforcement conducted an employment check on

ANGLIN. ANGLIN reported less than $600 income in the first quarter of 2017, despite living in

an apartmentthat costs a great deal more monthly. According to ANGLIN's phone records, she

is in contact not only with VANDIVER, but several other co-conspirators in this investigation.

       E.     Controlled Purchase of Cocaine from VANDIVER and Heroin from
              HARDWICK on March 30.2017


       58.    On March 30, 2017, CS-1, at law enforcement direction, contacted HARDWICK

and ordered a quantity of heroin and a firearm. HARDWICK advised he onlyhad heroin at that

time and CS-1 agreed to purchase a quantity of heroin. At the same time, CS-1 ordered a "four

deuce'" (4.5 ounces) of cocaine from VANDIVER.

       59.    CS-1 met with VANDIVER at the Potomac Mills Mall and entered his

(VANDIVER's) vehicle. A FaceTime call was placed to HARDWICK in which they discussed

"dawgs" (guns) and"food" (heroin). HARDWICK reported he didnot have any guns and

offered to introduce CS-1 to his source of supply in Washington, D.C. for the heroin.

HARDWICK described the source as an older male in his 40's who was "on the run for life, he

can't even come to VA." This source of heroin is believed to be the same source of supply for

JAVELL JOHNSON (alsoknown as "JACK"). HARDWICK reported he hadjust met his

"Minnesota Ave" source and pickedup seven(7) grams of heroin. This is consistent with

JOHNSON who would meet his source of supply for heroin on Minnesota Avenue. CS-1

informed HARDWICK that he would purchase the heroin and HARDWICK ended the call by

telling him, "You know where I'm at" (his residence).




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       60.      VANDIVER informed CS-1 that another IGB member had been robbed by

unknown males in the Richmond or Norfolk area. VANDIVER expressed that he was upset that

gang members had not yet retaliated.

       61.      VANDIVER received a phone call in which an unidentified caller reported he

wanted a half ounce of cocaine. VANDIVER agreed to meet the unidentified caller later that

day and agreed to sell the cocaine for $700. The unidentified individual called VANDIVER

again and asked if he was ready. VANDIVER reported he was pullingup to "the spot" now and

asked the caller to meet at the Popeye's. VANDIVERand CS-1 then drove to "the spot" which

turned out to be ANGLIN's residence on Bellona Road. VANDIVER called ANGLIN before

they arrived.

       62.      While inside ANGLIN's residence, CS-1 observed ANGLIN and two to three

young children in the apartment. ANGLIN can be heard on a recording talking with

VANDIVER and CS-1. CS-1 reported VANDIVERretrieved an Ugg shoebox fi-om the top

shelf of ANGLIN's bedroom closet and that the box contained an unknown quantity of cocaine.

CS-1 reported VANDIVER weighed out and then packaged 4.5 ounces of cocaine for him.

While preparing the cocaine VANDIVER placed a phone call to NILES, which is supported both

by CS-1 's statements and telephone toll records. During this call, VANDIVER and NILES

clarify the weight of cocaine that VANDIVER purchased from him earlier. VANDIVER

provided the cocaine to CS-1, who in return paid $5,400 in documented funds. The cocaine was

later submitted to the DEA Mid-Atlantic Laboratory and tested positive for 123.12 grams of

cocaine hydrochloride.

       63.      Later in the evening, CS-1 and VANDIVER communicated with HARDWICK

via FaceTime. HARDWICK reported he would be home soon. VANDIVER drove CS-1 to
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HARDWICK's residence. CS-1 reported HARDWICK walkedto VANDIVER's vehicle from

his residence and entered the vehicle. HARDWICK reported he was unable to obtain a firearm

for CS-1. HARDWICK then provided CS-1 with approximately four (4) grams of heroin in

return for $300 in documented funds. The suspected heroin was later submitted to the DEA

Mid-Atlantic Laboratoryand tested positive for 3.44 grams of a mixture containing fentanyl and

heroin.


          F.    Controlled Purchase of Cocaine Base and Cocaine from VANDIVER on
                April 6.2017


          64.   On April 6,2017, CS-1, at law enforcement direction, contacted VANDIVER via

FaceTime to order two (2) ounces of cocaine base (also known as "crack" cocaine) and one (1)

ounce of cocaine. VANDIVER told CS-1 to "let him call my peoples and see if we can do it at

the house real quick" (manufacture cocaine base). VANDIVER's toll records revealed he called

ANGLIN's known telephone number. A short time later, VANDIVER called CS-1 and directed

him to ANGLIN's residence.


          65.   When CS-1 entered ANGLIN's apartment, VANDIVER, ANGLIN, and children

were present. VANDIVER began to manufacture cocaine base, while discussing his process

with CS-1. ANGLIN was also present during the cooking of the cocaine base and conversation.

At one point, VANDIVER received a phone call and ANGLIN took the call on his phone. She

could be heard relaying a question to VANDIVER from whomever she was speaking. Around

the same time, one of the children could be overheard asking ANGLIN a question and ANGLIN

responded to the child. According to CS-1, VANDIVER was using various kitchen utensils, a

bowl, and the microwave to manufacture the cocaine base. VANDIVER told CS-1 that when he




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manufactures cocaine base, he lets it sit out overnight even though the cocaine gets hard after

approximately one hour.

       66.       According to call records, VANDIVER then received a phone call from

MICHAEL LEDERER's known telephone number. LEDERER's phone number was identified

through toll records and a law enforcement database. VANDIVER agreed to meet LEDERER.

A short time later, VANDIVER left out the manufactured cocaine base to dry at ANGLIN's

apartment. VANDIVER and CS-1 exited ANGLIN's apartment where she remained and entered

VANDIVER's vehicle. Law enforcement followed VANDIVER and CS-1 to a McDonalds in

Ashdale Plaza.


       67.       While waiting for LEDERERto arrive, VANDIVERreportedthat Unnamed IGB

Member 3 was getting straight onions (ounces of cocaine) every week,

       68.       VANDIVER then received a FaceTime call from CAREW. CAREW asked

VANDIVER what he was doing and he replied, "Just got out of the kitchen whipping"

(manufacturing cocaine base).

       69.       Law enforcement next observed VANDIVER exit his vehicle, while speaking on

the phone to CAREW and meeting with LEDERER. VANDIVERreturned to his vehicle and

informed CS-1 that he had just made a sale. Law enforcement then observed LEDERER conduct

a hand-to-hand transaction with a female in the same parking lot.

       70.       VANDIVER and CS-1 then drove back to ANGLIN's residence. Inside the

residence, VANDIVER made a FaceTime call to NILES and informed him that he had let the

cocaine base sit out for about an hour, but that the cocaine was still soft. NILES told

VANDIVER to put the cocaine back in the microwave. VANDIVER can be heard on the

recording calling out to ANGLIN and asking her if the hair-dryer worked because it was not
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turning on. ANGLIN instructed him on howto activate it and CS-1 reported VANDIVER used

the hair-dryer to dry the cocaine base in conjimction with the microwave.

       71.    VANDIVER put a quantityof cocaineon a scale and reportedit weighed 1.1

(ounces). VANDIVER then finished preparingthe cocaine base, packagedit, and handedit to

CS-1. CS-1 then providedVANDIVER with $4,900in documented fimds. The cocaine

hydrochloride was later submitted to the DEAMid-Atlantic Laboratory and testedpositive for

27.92 gramsof cocaine hydrochloride. The cocainebase was later submitted to the DEA Mid-

Atlantic Laboratory and tested positive for 108.82 grams of cocaine base.

       G.      CS-1 Communication with VANDIVER about NILES being his Source of
               Supplv


       72.     CS-1 recorded two FaceTime calls with VANDIVER. In the calls, VANDIVER

reported that NILES was recently arrested and would have to deal with Prince William County

and federal probation. VANDIVER reported that if NILES is arrested that his (VANDIVER's)

narcotics distribution would be shut down. VANDIVER then stated that he wanted to meet

NILES' supplier, so he could continue to distribute controlled substance. VANDIVER and CS-1

discussed pooling their money together in order to purchase a half of a kilogram to one kilogram

of cocaine, VANDIVER further stated that if he and CS-1 can put in $20,000, NILES might put

in the remaining $16,000. VANDIVER discussed obtaining a new phone number because he

was worried about federal law enforcement and his connection with gangs.

       H.     Arrest of HARDWICK on April 11. 2017 and the Seizure of Controlled
               Substances. Firearms, and Ammunition


       73.    ATF agents learned that HARDWICK was wanted in Prince William County.

ATF agents shared HARDWICK's fugitive status with the United States Marshals Service


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("USMS") Fugitive Task Force. The USMS took HARDWICK's case for service of the arrest

warrant.


          74.   On April 11, 2017, the USMS interviewed a subject leaving the residence on

Filarete Street, who confirmed that HARDWICK was in the upstairs master bedroom. Upon

entry into the home, law enforcement smelled an odor of marijuana. During the protective

sweep, it was apparent to law enforcementthat HARDWICK was attempting to flush marijuana

down the toilet, A shoebox in the bathtub still contained marijuana, suspected heroin or cocaine,

and packaging materials. Basedon the contraband and odor of marijuana identified in plain

view, the PWCPD obtained a state search warrant for the residence. HARDWICK was

ultimately arrestedon the second floor in a bedroom other than the masterbedroomwherehe

stayed.

          75.   Duringthe subsequent court-authorized search of the residence, law enforcement

seized a Clock .40 caliberpistol with an extendedmagazine loadedwith 16 rounds of .40 caliber

ammunition fi:om the water tank ofthe second floor bathroom toilet. Based upon my training

and experience, I know the Clock .40 caliberpistol to be a firearm as that term is defined vmder

Title 18, United States Code, Section 921(a)(3). In the bathtub, law enforcement seized a

shoebox containingsuspectedheroin or cocaine. The suspectedheroin or cocaine was later

submitted to the DEA Mid-Atlantic Laboratory and tested positive for two (2) grams of fentanyl.

Law enforcement also seized a Clock magazine containing four (4) rounds of .40 caliber

ammunition, three additional magazines, inositol, a digital scale, packaging materials, and

records and documents for HARDWICK fi-om the master bedroom. Based on my training and

experience in investigating controlled substances, I know inositol to be a common cutting agent

that drug dealers use to dilute controlled substances.
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       76.     HARDWICK was the only occupant of the residence locatedon the secondfloor.

Other residents in the home stated that HARDWICK resided in the master bedroom. Further, the

occupant of the bedroom in which HARDWICK wasarrested stated that HARDWICK did not

live in that bedroom.


       77.     After HARDWICK was advised of his Miranda rights and waived those rights,

HARDWICK admitted to being a "small time" dealer of heroin. HARDWICK also admitted that

heroin was located in his residence. HARDWICK initially reported that he had no knowledge of

firearms in the residence. However, when law enforcement challenged HARDWICK, he

responded, "Everything in that house is mine, it's easier to say that, is that goodenough?"

HARDWICK then said, "I'm going to be honest, I want to help myself, everythingin the house

is mine."


        78.    Regarding the Glock pistol, HARDWICK admitted, "I put it in the toilet." When

asked what kind of magazine was in the firearm, HARDWICK replied, "It was an extended

magazine." HARDWICK admitted he purchased the firearm from someone for $500.

HARDWICK initially reported the firearm was for home and family protection, but later

admitted, "Somebody could have robbed me and I would have shot their ass." HARDWICK

admitted he flushed heroin and marijuana and that he had planned to flush the rest of the drugs in

the shoebox. He reported none of the drugs was cocaine, which is consistent with subsequent lab

analysis.

       I.      Controlled Purchase of Heroin firom JERRY MCCALLISTER on April 25. 2017

       79.     In the days leading up to April 25, 2017, CS-1, at law enforcement direction,

contacted VANDIVER and arranged to purchase two (2) ounces of cocaine base and one (1)

ounce ofpowder cocaine. Prior to the transaction, VANDIVER reported to CS-1 that he was
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"dry" (out of cocaine). CS-1 also discussed purchasing heroin through VANDIVER and NILES.

CS-1 met VANDIVER at a location in the Eastern District of Virginia.

       80.     After meeting withVANDIVER, CS-1 attempted to purchase heroin through

another co-conspirator. However, this co-conspirator was out of the area. CS-1 asked

VANDIVER to call NILES to see if he (NILES) could facilitate a heroin transaction. In CS-1's

presence, VANDIVER called NILES via FaceTime and asked him if he could assist in obtaining

heroin for them. Theyagreed to meet at a location in Prince William County. VANDIVER and

CS-1 rented a hotel room and then waited in VANDIVER's vehicle in the parking lot. A short

time later, NILES was observed pulling into the same parking lot in Subject Vehicle 1.

       81.     NILES told VANDIVER and CS-1 that he would help them out this one time, but

that they would need to purchase heroin directly from the heroin source in the future. A short

time later, JERRY MCALLISTER (also known as "Face") arrived in a vehicle. This vehicle is

registered in MCALLISTER'S wife's name. Law enforcement obtained a photograph of JERRY

MCALLISTER and later showed CS-1. CS-1 confirmed MCALLISTER was the heroin source

of supply at the deal. CS-1, VANDIVER, NILES, and MCALLISTERall exited their vehicles

and entered the hotel.


       82.     After introductions were made, CS-1 exchanged phone numbers with

MCALLISTER. CS-1 then provided MCALLISTER with $6,900 and purchased approximately

79 grams of heroin.

       83.     When CS-1 and VANDIVER returned to VANDIVER's vehicle, VANDIVER

informed CS-1 that NILES would want to know the quality of the heroin, because he is giving

MCCALLISTER "bricks" (kilograms) of cocaine. VANDIVER further stated that NILES liked

to see them succeed. VANDIVER reported NILES will look out for them and if
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MCCALLISTER provided them poor quality heroin then VANDIVER and CS-1 could go above

MCCALLISTER.


       84.     The suspected heroin was later submitted to the DEA Mid-Atlantic Laboratory

and tested positive for 75.17 grams of a mixture containing heroin and fentanyl.

       J.      Controlled Purchase of Heroin from MCCALLISTER on May 2. 2017

       85.     On May 2, 2017, CS-1, at law enforcement direction, contactedMCCALLISTER

and ordered three (3) ouncesof heroin. MCALLISTER instructed CS-1 to meet him on South

PickettStreet in Alexandria, Virginia, which is located withinthe Eastern District of Virginia.

Law enforcement observed MCCALLISTER arrive in a 2004 Honda Pilot bearing Maryland

registration XXX6312 ("Subject Vehicle 2"). Subject Vehicle 2 is also registered to

MCALLISTER'S wife. MCCALLISTERparked and then entered CS-1's vehicle.

MCCALLISTER pulled out a bag of suspected heroin and stated it was three (3) ounces and then

handed it to CS-1. CS-1 then paid $6,900 in documented funds to MCCALLISTER. The

suspected heroin was submitted to the DEA Mid-Atlantic Laboratory andtested positive for

86.40 grams of heroin.



       K.      Controlled Purchase of Cocaine Base from VANDIVER on Mav 4. 2017

       86.     On May4, 2017, CS-1, at law enforcement direction, contacted VANDIVER and

ordered three (3) ounces of cocaine base. VANDIVER asked CS-1 to meet him at a restaurant

locatedat Daniel Stuart Square in Woodbridge. Upon arriving, VANDIVER enteredCS-1 's

vehicle and VANDIVER then called PETERSON. VANDIVER informed PETERSON that he

was waiting for the mother of one of his children to come home, so he (VANDIVER) could

retrieve something from her residence. VANDIVER then exited CS-1 's vehicle and instructed
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CS-1 to follow him. Law enforcement followed VANDIVER and CS-1 to Lost Canyon Court in

Woodbridge, Virginia. Upon arriving, VANDIVER parked his vehicle and then entered CS-1 's

vehicle.


         87.   While in CS-1 's vehicle, VANDIVER can be heard communicating with

CAREW. CAREW was angry with an individual and can be heard stating that he was going to

"beat his ass" or "shoot his shit up" if he wanted to take it there. CAREW then displayed a

firearm to VANDIVER and offered to sell it to him for $250. VANDIVER asked if it was clean

and CAREW responded he had "never done nothing with it." VANDIVER agreed to purchase

it.


         88.   Based on my review of CAREW's criminal history, I have determined that

CAREW has been convicted of multiple offenses in the Commonwealth of Virginia, which

exposed him to more than one year of incarceration, including a conviction in Prince William

County Circuit Court ofpossession of a firearm by a convicted felon, in violation of Code of

Virginia § 18.2-308.2. CAREW is therefore prohibited from possessing firearms under federal

law,


         89.   VANDIVER then placed a phone call to an individual ("Individual 5").

VANDIVER stated, "I know you saw me leave that shit there" and asked how long before

Individual 5 got back. A short time later, VANDIVER is observed entering Individual 5's

residence located at on Lost Canyon Court, Woodbridge, Virginia. Law enforcement observed

VANDIVER exit the residence a short time later holding his genitals (drugs attached to his

scrotum). According to CS-1, VANDIVER often conceals drugs in his genital area. Also,

according to CS-1, VANDIVER retrieved several ounces of cocaine from Individual 5's

apartment. VANDIVER and Individual 5 are reported to have children in common.
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       90.     As VANDIVER and CS-1 drove away from Lost Canyon Court towards Co-

Conspirator 2's apartment in Bayside Apartments, VANDIVER received a phone call from Co-

Conspirator 3. Co-Conspirator 3 told VANDIVER that he did not want to drive into Bayside

Apartments. Law enforcement followed VANDIVER and CS-1 to Co-Conspirator 2's apartment

on Bayside Avenue. VANDIVER and CS-1 entered the apartment and PETERSON and his

(Peterson's) girlfriend were already inside.

       91.     VANDIVER then asked PETERSON if he could take something over to his man.

VANDIVER explained his man (Co-Conspirator 3) did not want to drive into Bayview

Apartments. CS-1 statedthat VANDIVER provided PETERSON with one (1) ounce of cocaine

to deliverto Co-Conspirator 3. This information is corroborated by toll records, which show that

VANDIVER's known phone was in communication with Co-Conspirator 3. In addition, CS-1

was able to record the bag on top of a digital scale prior to PETERSONretrievingthe bag. The

bag weighed 32.6 grams.

       92.     After this, VANDIVER began manufacturing cocaine base while inside the

apartment. VANDIVERcontinuedto speak with CS-1 and PETERSON. PETERSON'S

girlfriend was also in the apartment while VANDIVER was manufacturing cocaine base.

PETERSON then left the apartment with his girlfriend. A short time later, they returned to the

apartment. When PETERSON returned, CS-1 reportedPETERSON purchased approximately

four (4) grams of cocaine from VANDIVER for $100 in CS-1 presence. PETERSON and his

girlfriend left and were observed driving away in his girlfriend's vehicle shortly thereafter.

       93.     After completing the manufacture of cocaine into cocaine base, VANDIVER

provided CS-1 with approximately 187 grams of cocaine base. In return, CS-1 paid VANDIVER

$5,400 in documented ftinds. CS-1 then drove VANDIVER back to Lost Canyon Court. The
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suspected cocaine base was submitted to the DBA Mid-Atlantic Laboratory and tested positive

for 185.10 grams of cocaine base.

       L.      Controlled Purchase of a Firearm and Cocaine from VANDIVER on May 9. 2017


       94.     In the days leading up to this date, VANDIVER contacted CS-1 and asked CS-1 if

he wanted to purchase the firearm that CAREW and VANDIVER discussed on May 4, 2017.

CS-1 agreed to purchase the firearm along with one (1) ounce of cocaine. VANDIVER

instructed CS-1 to come to Co-Conspirator 2's apartment on Bayside Avenue, where CS-1 met

VANDIVER.


       95.     Law enforcement followed CS-1 and VANDIVER as VANDIVER drove away in

his vehicle. VANDIVER reported to CS-1 that he had just purchased a "28," a "62," and a

quantity of "hard." In my training and experience, these are common gram quantities of cocaine

and hard is a slang term for cocaine base. VANDIVER and CS-1 then returned to Co-

Conspirator 2's apartment on Bayside Avenue shortly after they left.

       96.     Inside the apartment, CS-1 sat on a chair in the living room and VANDIVER

asked him if he could feel anything in it. CS-1 shifted his bodyweight and felt something inside

the cushion. VANDIVER explained that if law enforcement ever found the drugs hidden inside

the pillow, he (VANDIVER) did not live there and would contest his possession. CS-1 also

reported that VANDIVER cut out a portion of foam inside one ofthe cushions and inside there

was a "four deuce" or 4.5 ounces of cocaine inside clear plastic bags (126 grams).

       97.     VANDIVER informed CS-1 that one ounce of cocaine would cost $1,400.

VANDIVER then took out 4.5 ounces of cocaine and placed it on the dining room table.

VANDIVER scooped out cocaine and packaged it for CS-1. VANDIVER reported he was


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trying to make a $300 profit from the firearm CS-1 was going to purchase. CS-1 handed

VANDIVER $2,000 in documented funds and received the ounce of cocaine.

       98.     VANDIVER and CS-1 then left Co-Conspirator 2's Bayside Avenue apartment

andtravelled to an apartment on Lost Canyon Court, Woodbridge. Law enforcement observed

VANDIVER enter Individual 5's apartment without CS-1 and return a short time later and

subsequently open andclose the trunk of his vehicle. CS-1 laterinformed law enforcement that

VANDIVER took the remainder of the "four deuce" from the Bayside Avenue apartment and left

it inside Individual 5's residence, VANDIVER then reentered his vehicle carrying a white towel,

which covered the firearm, VANDIVERreported the firearm was rusty, but he had cleaned it.

VANDIVER wiped down the firearm, and then handed it to CS-1 to inspect. VANDIVER took

the firearm back, wrapped it back up in the towel, and placed it on the driver's seat betweenhis

leg and center console. Law enforcement then followed VANDIVER and CS-1 back to Co-

Conspirator2's Bayside Avenue apartmentparking lot. CS-1 then returned to his vehicle and

drove to meet law enforcement.


       99.     CS-1 provided law enforcement with the firearm and suspected cocaine. The

firearm is a Smith & Wesson .40 caliber pistol. Based upon my training and experience, I know

the Smith & Wesson pistol to be a firearm as that term is defined under Title 18, United States

Code, Section 921 (a)(3). The suspected cocaine was submitted to the DEA Mid-Atlantic

Laboratory and tested positive for 27.98 grams of cocaine hydrochloride.

       M.      Controlled Purchase of a Cocaine Base from PETERSON on Mav 10. 2017


       100.    On May 10, 2017, CS-1, at law enforcement direction, provided PETERSON with

the phone numbers of two cooperating sources. CS-1 informed PETERSON that the two

cooperating sources were former customers of CS-1, who moved to PETERSON'S area.
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        101.   CS-2 has been convicted of felony possession of a schedule I/II substance in the

Commonwealth of Virginia. CS-2 began working with ATF in 2002 and works for

compensation. CS-3 has been convictedfelony possession of cocaine in the Commonwealth of

Virginia. CS-3 began working with ATF in 2015 and works for compensation. CS-4 has been

convicted of four felony convictions in the Commonwealth of Virginia to include Possession of

Cocaine, Forgery, and Distribution of Cocaine. CS-4's last felony conviction was in 1997. CS-4

began working with ATF in 2015 and works for compensation. CS-2 died unexpectedly during

the week of November 13, 2017. All of CS-2's controlled purchases were audio and video

recorded. Further, law enforcement conducted surveillance of the deals. Further, for all of CS-

2's deals another cooperating source was also present.

        102.   On May 8, 2017, PETERSON called CS-2 and introduced himself to CS-2. CS-2

ordered one-half (1/2) ounce of cocaine base and agreed to a price of $950. On May 10, 2017,

PETERSON instructed CS-2 to meet him near the Hidden Valley trailer park in Stafford,

Virginia, withinthe Eastern Districtof Virginia. CS-2, CS-3 and CS-4 drove to a 7-Eleven

located at 3623 Jefferson Davis Highway, Stafford, Virginia, and CS-2 informedPETERSON

they had arrived. A short time later, PETERSON was observed arriving as a passenger in his

girlfriend's vehicle. His girlfriendparked and PETERSONthen entered CS-2's vehicle (CS-3

and CS-4 were also in the vehicle). PETERSON pulled out a bag of suspected cocaine base and

CS-2 in return paid $950 in documented funds to PETERSON. The suspected cocaine base was

submitted to the DEA Mid-Atlantic Laboratory and tested positive for 14.58 grams of cocaine

base.




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       N.     Controlled Purchase of Cocaine Base from PETERSON on May 17. 2017


       103.   On May 15, 2017, CS-2, at law enforcement direction, contacted PETERSON and

ordered one-half (1/2) ounce of cocaine base. PETERSON told CS-2 it would be the same price

as the previous deal. CS-2 reminded PETERSON that he offered to lower the price next time.

PETERSON then agreed to sell the cocaine for $850. CS-2 informed PETERSON that CS-3 and

CS-4 also wanted to purchase one-half (1/2) ounce of cocaine base. CS-2 and PETERSON

agreed to meetat the 7-Eleven located at 3623 Jefferson Davis Highway for the purchase of a

combined total of one ounce of cocaine base.

       104.   CS-2, CS-3 and CS-4 arrived at the meeting location and contacted PETERSON,

who advised that he would arrive shortly. Law enforcement observed a known individual

("Individual 6") pickup PETERSON at his residence. Law enforcement then observed

PETERSONplace a blue bag in the trunk and another bag in the rear seat.

       105.   Law enforcement followed PETERSON and Individual 6 to the meeting location.

Upon arriving, PETERSON entered CS-2's vehicle (CS-3 and CS-4 was also present). CS-2

provided PETERSON with $1,700 in documented funds for CS-2's half-ounce (1/2) and CS-3

and CS-4's half-ounce (1/2) of cocaine base. CS-4 asked PETERSON what the price break

wouldbe if he purchased an ounce of cocaine base and PETERSON responded that the price

would be $1,300. The suspected cocaine base purchased by CS-2, CS-3 and CS-4 was submitted

to the DEA Mid-Atlantic Laboratory and tested positive for 25.75 grams of cocaine base.

       O.     Controlled Purchase of Cocaine Base from PETERSON on Mav 24. 2017

       106.   On May 24, 2017, CS-4, at law enforcementdirection, contacted PETERSON and

ordered one and one half (1.5) ounces of cocaine base. PETERSON initially stated he would sell

the cocaine for $1,500; however, CS-4 negotiated the price to $1,300 for the ounce and $750 for
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the half ounce. PETERSON agreed to meet at the 7-Eleven located at 3623 Jefferson Davis

Highway. Upon arriving, PETERSON entered CS-4's vehicle and provided one and one half

ounces (1.5) of cocaine base to CS-4. After CS-4 weighed the cocaine base, it was light and

CS-4 renegotiated the price and then provided PETERSON with $2,000. The suspected cocaine

base purchased by CS-4 was submitted to the DEA Mid-Atlantic Laboratory and tested positive

for 41.08 grams of cocaine base.

       P.       VANDIVER Discusses Drugs being Transported to Fredericksburg on Mav
                18.2017


       107.     On May 18, 2017, CS-1 met with VANDIVER to conduct a drug transaction.

During the encounter, VANDIVER reported drugs werebeingtransported to Fredericksburg,

Virginia. VANDIVER stated his people were dropping off one-half(1/2) a kilogram of cocaine

every Friday.

       Q.       Controlled Purchase of Cocaine Base from PETERSON on June 2. 2017

       108.     On May 30, 2017, CS-4, at law enforcement direction, contacted PETERSON and

ordered one and one half (1.5) ounces of cocaine base. PETERSON respondedthat he would

sell the cocaine base for $2,150. CS-4 and PETERSON agreed to meet on June 2, 2017.

PETERSON instructed CS-4 to meet him in Triangle, Virginia.

       109.     Law enforcement surveillance observed PETERSON'S girlfriend pick up

PETERSON at his residence in her vehicle. PETERSON instructed CS-4 to meet him at the

Dunkin Donuts located in Triangle, Virginia. Prior to the transaction, law enforcement observed

PETERSON and his girlfriend arrive at Co-Conspirator 2's Bayside Avenue apartment. Law

enforcement then observed both enter the same building used by VANDIVER on previous

occasions with CS-1 to manufacture and package cocaine and cocaine base. In addition, law

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enforcement observed these individuals coming in and out of the building using a surveillance

camera.



       110.   At the meeting location, PETERSON exited his girlfriend's vehicle and entered

CS-4's vehicle. PETERSON provided CS-4 with a bag containing cocaine base and CS-4

provided PETERSON with $2,000. During the transaction, law enforcement observed Co-

Conspirator 3 arrive in the same parking lot. CS-4 commented to PETERSON that Co-

Conspirator 3 was looking at him counting the money but PETERSON was not concerned.

       111.   Law enforcement then observed PETERSON meet with Co-Conspirator 3 and

conduct what appeared to be another drug transaction. PETERSON then walked to his

girlfriend's vehicle, while Co-Conspirator 3 went to a third party's vehicle and conducted what

appeared to be a drugtransaction. Co-Conspirator 3 walked awayfrom the thirdparty's vehicle

and back to the driver's side of PETERSON'S girlfriend's vehicle. PETERSON'S toll records

show him in communication with VANDIVER and Co-Conspirator 3 during this encounter.

       112.   CS-4 departed with the purchased cocaine base. The suspected cocaine base

purchased by CS-4 was submitted to the DEA Mid-Atlantic Laboratory and tested positive for

41.97 grams of cocaine base.

       R.     IGB Gang Meeting on Mav 13. 2017


       113.   CS-1 was debriefedabout a gang meeting that took place in Norfolk, Virginia.

CS-1 reported that IGB members discussed an attempted armed home invasion in Woodbridge,

Virginia. According to CS-1, VANDIVER directed members to conduct an armed home

invasion of a rival gang member that was alleged to have a large sum of U.S. currency. The IGB

gang members were armed with a Draco pistol and observed the intended target inside of his


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residence. Two of the three gang members decided not to participate and the robbery was called

off.


       114.    During the meeting, CS-1 learned from other IGB members that MCCALLISTER

opened a carpet cleaning business. MCCALLISTER was reported to be supplied heroin by

MARK ICETTER (also known as "Tana," also known as "VA Tana") ("KETTER").

       S.      Controlled Purchase of Cocaine Base from PETERSON on June 16. 2017

       115.    On June 13, 2017, a cooperating source ("CS-4") contacted PETERSON and

ordered two (2) ounces of cocaine base, one for CS-2 and one for CS-4. PETERSON agreed to

sell the cocaine base for $1,350 per ounce.

       116.    On June 16, 2017, CS-4 contacted PETERSON, who instructed CS-2 and CS-4 to

meet him in Dumfries, Virginia. Law enforcement surveillance observed PETERSON'S

girlfriend pick up PETERSON at his residence in her vehicle.

       117.    Prior to the transaction, law enforcement observed PETERSON and his girlfriend

at a residence located on Point Pleasant Lane, Dumfries, Virginia. At that time, PETERSON'S

toll records show him in communication with VANDIVER, VANDIVER is also known to

frequent the address on Point Pleasant Lane. PETERSON and his girlfriendleft the residence

and traveled to the meeting location.

       118.    At the meeting location, PETERSON exited his girlfriend's vehicle and met with

CS-2 and CS-4. PETERSON provided the bag containing two (2) ounces of cocaine base to

CS-4, who in return provided PETERSON with $2,700 in documented fimds. The suspected

cocaine base purchased by CS-4 and CS-2 was submitted to the DEA Mid-Atlantic Laboratory

and tested positive for 55.35 grams of cocaine base.


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       T,     CS-1 and VANDIVER Discuss IGB Interstate Drug Trafficking Network on June
              17. 2017


       119.   At law enforcement direction, CS-1 met with VANDIVER and traveled in his

vehicle to a restaurant in Woodbridge. VANDIVER and CS-1 met with Unnamed IGB Member

4, who holds the rank of World Wide High (top leadership tier within IGB). VANDIVER

proposed that he (VANDIVER), CS-1, and Unnamed IGB Member 4 pool $10,000 per personas

seedmoney to fund a large purchase of cocaine and marijuana. VANDIVER further proposed

theyorganize a "money team" of the top five performers within each citywhere the IGB have a

presence.


       U.     Controlled Purchase of Cocaine Base fi'om PETERSON on June 22.2017

       120.   On June 20,2017, CS-2. contacted PETERSON and ordered two (2) ounces of

cocaine base. PETERSON agreed to meet CS-2 on June 22 at the same location in Triangle.

CS-2 and CS-3 arrived at the meeting location, CS-2 received a text message fi-om PETERSON

stating, "I'm cooking now" (manufacturing cocaine base). When CS-2 asked how long

PETERSON would be, PETERSON reported, "At least 30 just got it."

       121.   Law enforcement located vehicles associated with PETERSON and VANDIVER

outside of Co-Conspirator 2's Bayside Avenue Apartment in Woodbridge. Law enforcement

observed VANDIVER and PETERSON exit the apartment building together and then enter

VANDIVER's vehicle. Shortlythereafter, VANDIVER's vehicle arrived at the meeting

location, PETERSON exited VANDIVER's vehicle and then entered CS-2's vehicle (CS-3 was

also in the vehicle). PETERSON provided CS-2 with a bag containing two (2) ounces of cocaine

base and in return CS-2providedhim with $2,700 in documented funds. After the transaction,

PETERSON reentered VANDIVER's vehicle and departed the area. The suspected cocaine base

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purchased by CS-2 and CS-3 had a positive field test and has been submitted to the DEA Mid

Atlantic Laboratory for testing.

       V.      CS-1 and VANDIVER Discuss PETERSON Manufacturing Cocaine Base on
               June 27.2017


       122.    On June 27, 2017, CS-1 recorded a conversation with VANDIVER in which

VANDIVER discussed PETERSON manufacturing cocaine base. VANDIVER reported

PETERSON had purchased one-half (1/2) ounce of cocaine from him. PETERSON later called

VANDIVER and asked for help manufacturing cocaine base. VANDIVER told PETERSON he

was unavailable to cook the cocaine base, so PETERSON attempted to do it himself

VANDIVER found it amusing because PETERSON contacted him via FaceTime and he had an

excessive amount of water in the cocaine mixture. VANDIVER further reported PETERSON

had a crack smoker there helping him cook. VANDIVER said PETERSON had boiled the

cocaine and messed up the process badly.

       W.      PETERSON involved in a shooting in Stafford Countv. Virginia

       123.    On July 5, 2017, a shooting was reported to the Stafford County Sheriffs Office

("SCSO"). The initial investigationrevealed PETERSON, his girlfnend, and Individual 6 had a

dispute with a rival group of individuals that culminated in a shootout. During the exchange of

gunfire. Individual 6 was shot in the lower body,

       124.    Law enforcement had placed a surveillance camera on PETERSON'S apartment

building prior to this incident. At approximately 1:17 a.m., PETERSON and his girlfriend can

be observed running towards PETERSON'S apartment building on Garrison Woods Drive,

Stafford, Virginia. PETERSON was observed stepping out to the front porch and looking around

the comer. At one point in the video, PETERSON is observed raising a firearm and firing two to

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three rounds at individuals in the parking lot. Those individuals took cover in between parked

cars. PETERSON is then observed picking up items believed to be casings or shells from the

ground.

          X.     CS-1 met with VANDIVER and Unnamed IGB Member 5 on Julv 25. 2017

          125.   On July 25, 2017, law enforcement followed CS-1, who was acting at law

enforcement direction, and observed CS-1 pickup a co-conspirator ("Co-Conspirator 4") and

drive to Lost Canyon Court to meet VANDIVER. When theyarrived, CS-1 and Co-Conspirator

4 entered VANDIVER's vehicle and drove to 15144 Cloverdale Road, Woodbridge, Virginia

22193. Afterseveral hours, the group traveled to an apartment located on Berlin Courtin

Woodbridge. The group then travelled to an apartment on Lost Canyon Court, Woodbridge,

Virginia. CS-1 learned that this location was ANGLIN'snew residence. Similar to ANGLIN's

Bellona Road apartment, while inside ANGLIN's new apartment, VANDIVER manufactured

cocaine base. Upon finishing the manufacture, law enforcement followed VANDIVER to a gas

station on Annapolis Wayin Woodbridge, where VANDIVER soldthe quantity of cocaine base

to EDLER. After the transaction, law enforcement followed VANDIVER back to 15144

Cloverdale Road.


          Y.     Controlled Purchase of Cocaine Base from PETERSON on Julv 26. 2017

          126.   On July 24,2017, CS-4 ordered one (1) ounce of cocaine base from PETERSON.

PETERSON agreed to meet at the same location in Triangle, Virginia, on July 26.

          127.   After confirming CS-4 was on site, law enforcement observed VANDIVER's

vehicle pull into the parking lot. PETERSON exited VANDIVER's vehicle and entered CS-4's

vehicle. PETERSON provided CS-4 with a bag containing one (1) ounce of cocaine base. CS-4

paid PETERSON with $1,300 in documentedfiinds. After the transaction, PETERSON
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reentered VANDIVER's vehicle and departedthe area. The suspectedcocaine base purchased

by CS-4 was submittedto the DEA Mid-Atlantic Laboratoryand tested positive for 27.40 grams

of cocaine base.


       Z.      Controlled Purchase of Two Firearms from VANDIVER on July 27. 2017

       128.    On July 27, 2017, VANDIVER sent CS-1 a photograph of two firearms and

reported they were for sale. CS-1 agreed to purchase the firearms and coordinated a purchase of

marijuana via VANDIVER. VANDIVER directed CS-1 to 15144 Cloverdale Road,

Woodbridge, Virginia. Law enforcement observed VANDIVER at the residence via a law

enforcement surveillance camera positioned on the home. CS-1 drove to the residence. Upon

entering the residence, CS-1 met and spoke with VANDIVER and Co-Conspirator 4.

       129.    Inside a screened in area in the rear of the residence, VANDIVER informed CS-1

that one of the firearms could use a suppressor. VANDIVER also discussed large capacity

magazines. Via CS-l's audio recording/transmitting equipment, law enforcement heard firearms

being manipulated. CS-1 later reported Co-Conspirator 4 who is also prohibited from possessing

firearms due to felony convictions held one of the firearms and manipulated the firearm.

VANDIVER reported one of the firearms had a lot of kick and told CS-1 to hold it in his body.

       130.    During the transaction, VANDIVER reached into a white container with a twist

off lid located next to the couch in the same area, and obtained what appeared to be an "S-ball"

(3.5 grams) of cocaine, CS-1 provided VANDIVER with $1,300 in documented fiinds for the

firearms and placed them in a shoebox. Prior to departing, CS-1 placed the shoebox containing

the firearms in the trunk of VANDIVER's vehicle for security.

       131.    VANDIVER, Co-Conspirator 4, and CS-1 departed the residence in CS-1 's

vehicle. Law enforcement followed the vehicle to the Tanger Outlets located in National Harbor,
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Maryland. VANDIVER discussed his hatred of corrections officers, and how he would place a

tracker underneath an officer's vehicle, follow them around for a month, and eventually kill the

officer. This was general conversation and no specific threat was made.

       132.    Once in the area of the Tanger Outlets, VANDIVER received a call and informed

the caller of his location in the parking lot near the Ralph Lauren store. Law enforcement

observed CAREW arriving to the parking lot in a Mercedes SUV bearing Ohio registration

XXX-7303. CS-1 paid VANDIVER $2,800 per pound of marijuana and ordered three pounds.

CAREW charged $2,700 per pound and VANDIVER charged a $100 per pound tax for the

introduction to CAREWaccordingto CS-1. CS-1 provided VANDIVERwith $8,400 in

documented funds. VANDIVER exited CS-1 's vehicle and entered CAREW's vehicle. CS-1

and Co-Conspirator4 drove behind CAREW to the Sunoco gas station in National Harbor.

Shortly thereafter, VANDIVER entered CS-1 's vehicle and departed the area.

       133.    The group returned to 15144 Cloverdale Road, where CS-1 retrieved the

purchased firearms firom VANDIVER's trunk and departed the residence with the marijuana and

firearms. VANDIVER and Co-Conspirator4 were observed entering the residence carrying a

bag.

       134.    CS-1 was followed to a meeting location where the marijuana and firearms were

collected by law enforcement. The suspected marijuana purchased by CS-1 was submitted to the

DEA Mid-Atlantic Laboratory and tested positive for 1,266.9 grams of marijuana. The firearms

purchased were a Velocity, LLC model VMAC45, .45 caliber pistol and a Glock model 21, .45

caliber pistol. Based upon my training and experience, I know these pistols to be firearms as that

term is defined under Title 18, United States Code, Section 921(a)(3).


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        AA.     Arrest of PETERSON on July 28. 2017


        135.    On July 28, 2017, the SCSO obtained an arrest warrant for PETERSON. The

charges were related to the July 5, 2017 shooting incident described above in which PETERSON

was observedby law enforcement firing a shotgun at a rival group. Warrants for possession of a

firearm by a convictedfelon, use of a firearm in commissionof a felony, reckless handling of a

firearm, and discharging a firearm within or at a building occupied by one or more persons were

obtained.


        136.    On or about July 13, 2017, CS-1 reported to law enforcement that PETERSON

had obtained a Clock pistol from VANDIVER'sbrother, a known gang member. PETERSON

had also told CS-1 that he planned to keep the Glock pistol on him at all times. Law

enforcement expected PETERSON to be armed, whenthey observed him exit his residence.

Whendetectives approached PETERSON, he fled on foot into the nearby woodline. A law

enforcement K-9 unit tracked PETERSON and he was ultimately arrested in a neighboring

residential area.


        137.    In addition to the arrest warrants, the SCSO also obtained a search warrant for

PETERSON'S residence. During the court-authorized search, law enforcement seized an

extended magazine with .40 caliberammunition, a plastic bag containing a substance consistent

with cocaine, and a long gun case.

        138.    In a monitored telephone call at the Rappahannock Regional Jail, PETERSON

contacted VANDIVER and informed him that law enforcement had not found a firearm.

        139.    On August 1,2017, an ATF explosives detection K-9 was summoned to the area

to conduct a search in the wooded area where PETERSON had fled. The ATF K-9 and her

handler located a Glock model 22, .40 caliber pistol with a laser sight attached in the woods.
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The firearm was unloaded and without a magazine. The magazine and ammunition found in

PETERSON'S residence could be used with this firearm. Based upon my training and

experience, I know the Glock pistol to be firearm as that term is defined under Title 18, United

States Code, Section 921 (a)(3).

       BB.     CS-1 Purchases an AK-47 Rifle from TYUS TERRELL on August K 2017

       140.    On July 29, 2017, VANDIVERsent a photograph of an unidentified AK-47 rifle

with a high-capacity drum magazine to CS-1. CS-1 agreed to purchase the firearm on August 1,

2017. On that date, VANDIVER instructed CS-1 to meet him at Potomac Mills Mall. Law

enforcement located VANDIVER with a known individual ("Individual 7"). CS-1 met up with

them and VANDIVER instructed him to follow in his vehicle.

       141.    While driving, VANDIVER contactedCS-1 via FaceTime and told him they

would be goingto a location off Birchdale Avenue. While Individual 7 remained in the parking

lot, VANDIVER led CS-1 to a residence on Belvedere Drive in Woodbridge where he

(VANDIVER) and CS-1 enteredthe residence. Inside the residence, CS-1 reported the AK-47

was leaning against a piece of furniture in the kitchen. VANDIVER introducedCS-1 to "TAZ"

(known to law enforcement as TYUS TERRELL ("TERRELL"))- CS-1 informed law

enforcement that TERRELL is a "minion" or subordinate of JOHNSON. JOHNSON is a Milla

Time Blood and the reported regional leader of the gang. TERRELL is a Family over

Everything (FOE) gang member as well.

       142.    CS-1 provided $300 in documented funds to VANDIVER inside the kitchen as a

tax for setting up the transaction. CS-1 then placed the $1,300 in documented funds on the

kitchen table to purchase the AK-47. TERRELL collected the money and then provided CS-1

with the high-capacity drum magazine for the rifle. The rifle is an Inter Ordnance Incorporated
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AK-47-C, 7.62x39 caliber rifle. An NCIC query of the firearm also revealed the firearm was

reported stolen from Stafford County, Virginia.

           143.   Based upon my training and experience, I know the Inter Ordnance Incorporated

rifle to be a firearm as that term is defined under Title 18, United States Code, Section 921

(a)(3). Further, this firearm is not manufactured in the Commonwealth of Virginia;

consequently, any Inter Ordnance Incorporated rifle found in the Commonwealth of Virginia

have traveled in interstate and/or foreign commerce from their point of manufacture outside of

the Commonwealth of Virginia into the Commonwealth of Virginia.

           144.   After the identification of TERRELL'S alias as "Taz," law enforcement recalled

the purchase of a firearm on March 23, 2017 from a "Taz," who was unidentified at the time.

Upon reviewing information from that date, law enforcement determined the firearm was

purchased from TERRELL then as well. On that date, TERRELL sold a Hi-Point model C9

9mm pistol in Woodbridge, Virginia to a cooperation source ("CS-5"). CS-5 provided law

enforcement with TAZ's social media account at the time, which law enforcement used to

positively identify TERRELL in August, 2017.

       CC.        Arrest of TERRELL on August 3. 2017


           145.   After the above transaction, law enforcement learned TERRELL was wanted in

Spotsylvania County, Virginia. Law enforcement established surveillance on a location located

on Belvedere Drive, and later followed TERRELL after he left the residence. The PWCPD

stopped TERRELL'S vehicle. TERRELL was arrested from the front passenger seat of the

vehicle.


       146.       Law enforcement seized a Glock model 26, 9mm pistol with an extended

magazine from the map pocket of TERRELL'S door. Law enforcement also seized suspected
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cocaine from the driver's possession. Based upon this search, the PWCPD obtained a search

warrant for the residence on Belvedere Drive.

        147.   Duringthe court-authorized search of TERRELL'S residence, law enforcement

seized documented cashier funds used by CS-1 to pxurchase the AK-47 on August 1, 2017,

among other evidence.

        148.   Law enforcement later obtained a search warrant for TERRELL'S social media

accounts. In the social media returns, law enforcement determined that TERRELL'S account

includes photographs of not only the AK-47, but of firearms purchased by law enforcement from

VANDIVER on July 27, 2017, Based on these photographs, I submit that there is probable

cause to support that TERRELL was the source of the firearms for the deal on July 27, 2017, as

well.


        149.   Based on a review of TERRELL'S criminal history, I have determined that

TERRELL has been convicted of multiple offenses in the Commonwealth of Virginia, which

exposed him to more than one year of incarceration, including a conviction in Spotsylvania

County Circuit Court of possession with intent to distribute marijuana, in violation of Code of

Virginia § 18.2-248.1 and Obstruction of Justice, in violation of Code of Virginia § 18.2-460.

TERRELL is therefore prohibited from possessing firearms under federal law.

        DD.    Rank Structure of the Regional IGB Changes


        150.   On August 3, 2017, CS-1 received a text message from Co-Conspirator 4 with the

new "line-up" (rank structure) for the IGB in Northern Virginia. Co-Conspirator 4 reported

VANDIVER was the HIGH 020. Co-Conspirator 4 is now a Five Star General, CS-1 is a Four

Star General, and another co-conspirator is now a Three Star General.


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       EE.    VANDIVER buys Marijuana from CAREW for LEDERER on August 8.2017


       151.   On August 8, 2017, CS-1, at law enforcement direction, met with VANDIVER at

Potomac Mills Mall. CS-1 entered VANDIVER's vehicle and they then both drove to 15144

Cloverdale Road. VANDIVER and CS-1 later traveled to an area restaurant and met Co-

Conspirator4. VANDIVER, CS-1, and Co-Conspirator 4 then drove to 1928 Coppersmith

Terrace, Woodbridge, Virginia to meet CAREW. VANDIVER exited the vehicle and went to

meet CAREW. VANDIVER returned with a plastic bag that contained approximately one-

quarter (1/4) pound of marijuana.

       152.   VANDIVER, CS-1, and Co-Conspirator 4 then drove to an apartment complex

near Birchdale Avenue and VANDIVER exited the vehicle. CS-1 reported VANDIVER left

with the bag of marijuana, met with LEDERER, and returned to the vehicle with money.

       153.   VANDIVER, CS-1, and Co-Conspirator 4 then drove back to 1928 Coppersmith

Terrace and VANDIVER reported CAREW hadjust received 100pounds of marijuana.

VANDIVER further reported he wanted to switch out an old pound of marijuana with a fresh

pound. Once at the residence, VANDIVER retrieved a bag of marijuana from his trunk and

walked over to NATHANIEL BRUCE-COBBOLD ("BRUCE-COBBOLD") (also known as

Cedis) a known co-conspirator of CAREW. BRUCE-COBBOLD was sittinginside an Audi

vehicle registered in his name. VANDIVER handed BRUCE-COBBOLD the old pound of

marijuana and in retum BRUCE-COBBOLD handed him the new pound. VANDIVER then

placed the new pound of marijuana into his trunk.

       FF.     Controlled Purchase of Cocaine Base from EDLER on August 11.2017

       154.    On August 10, 2017, CS-1 and VANDIVER discussed CS-4. CS-4 was

purchasing from PETERSONprior to his arrest. VANDIVER asked CS-1 if CS-4 had EDLER's
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telephone number. CS-1 reported that he did and asked VANDIVER if he wanted CS-1 to

"coach" EDLER on how to sell the cocaine base. VANDIVER reported he had already coached

him. VANDIVER told CS-1 to inform CS-4 that he would sell them two (2) ounces of cocaine

base. VANDIVER further stated that he had five (5) ounces of cocaine on him and he could

manufacture ten (10) ounces of cocainebase. He would charge CS-4 $1,800 per ounce and they

could have as much as they wanted. VANDIVER reported he did not want to sell to CS-4

directly and he would get someone to sell it to them.

       155.    On the same date, VANDIVER, CS-1, and EDLER held a three-way recorded

phone call in which VANDIVER instructed EDLER to sell two (2) ounces of cocaine base to

CS-4. VANDIVER asked EDLER if he was "equipped" to do the transaction, to which EDLER

replied he was. VANDIVER stated he would pay EDLER $200 for selling the cocaine base.

       156.    A three-way recorded phone call between CS-1, CS-4, and EDLER then took

place and EDLER instructed CS-4 to meet him in Fredericksburg, Virginia.

       157.    On August 11, 2017, EDLER contacted CS-4 via text message and stated, "Meet

somewhere on 3," referencing Route 3 in Fredericksburg. CS-4 and EDLER agreed to meet in

the parking lot of a restaurant on Plank Road, Fredericksburg. EDLER arrived in a gold Honda

Civic. CS-4 entered EDLER's vehicle and provided EDLER with $3,600 in documented funds

for two (2) ounces of cocaine base. EDLER in return provided the cocaine base. CS-4 asked if

the price would be different in the future and EDLER reported it would be less. The suspected

cocaine base purchased by CS-4 was submitted to the DEA Mid-Atlantic Laboratory and tested

positive for 54.13 grams of cocaine base.




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       GG.     Controlled Purchase of Cocaine Base from EDLER on August 17.2017

       158.    On August 17, 2017, CS-1 advised law enforcement that EDLER contacted him

and stated he was unable to get ahold of VANDIVER and that he was concerned because he had

arrangedto sell three (3) ounces of cocaine base to CS-4. CS-1 contactedVANDIVER after this

conversation via FaceTime and VANDIVER reported he had talked to EDLER and told him,

"Bro, if you don't want to do it, just let me know." VANDIVERthen said he did not hear back

from EDLER. VANDIVER stated he would call EDLER and if everything was good,

VANDIVER would "whip it" (manufacture cocaine base) and drive there to meet him. CS-1

reported he would go meet VANDIVER shortly and ride with him.

       159.    CS-1 met up with VANDIVER and they drove to a residence of a female

acquaintance of VANDIVER located on Wakewater Way, Woodbridge, Virginia. CS-1 was able

to obtaina phone number for the female acquaintance and VANDIVER's toll records showhim

communicatingwith the number on the same date. While inside the residence, VANDIVER was

captured by CS-1 holding a blackpistol witha flashlight, and a suppressor attached along with a

black cable. VANDIVER was reported to be on a FaceTime call at the time, CS-1 believed he

was talking to NILES. VANDIVERinformed CS-1 that he had purchased the firearm a month

prior from EDLER for $350. VANDIVER further reported he had obtained the suppressor from

Amazon and that it was not a real suppressor. Moreover, during this investigation law

enforcement obtained a search warrant for one of VANDIVER's social media accounts. This

same firearm appears in a photo on VANDIVER's social media account on August 17, 2017. In

addition, CS-1 captured what appears to be a quantity of cocaine base sitting on a digital scale in

front of VANDIVER, while VANDIVER is seen holding the firearm.


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       160.   At law enforcement direction, CS-4 contacted EDLER and ordered three (3)

ounces of cocaine base.


       161.   VANDIVER and CS-1 remained at the Wakewater residence for a time before

departing to deliver cocaine base to EDLER. VANDIVERand CS-1 drove to a barbershop

located on Lafayette Boulevard, Fredericksburg, Virginia. Law enforcement observed EDLER

approach CS-1 's vehicle and meet with VANDIVER. CS-1 stated that VANDIVER provided

the cocaine base to EDLER and that they planned to meet up after the sale to CS-4, so EDLER

could pay VANDIVER for the cocaine base.

       162.   EDLER instructed CS-4 to meet at a restaurant on Plank Road. At the meeting

location, CS-4 entered EDLER's vehicle and provided EDLER with $4,500 in documented

funds. EDLER then handed CS-4 two (2) ounces of cocaine base. CS-4 reported he was short

(supposed to be three ounces) and EDLER reported there was confusion andhe only brought two

(2) ouncesof cocaine base. EDLERreturned $1,500 in documented funds to CS-4.

       163.   Law enforcement followed EDLER after the drug transaction to the Spotsylvania

Mall. EDLER was observed meeting with VANDIVER and, according to CS-1, EDLER paid

VANDIVER. The suspected cocaine base purchased by CS-4was submitted to the DEAMid-

Atlantic Laboratory and tested positive for 52.81 grams of cocaine base.

       HH.    Controlled Purchase of Cocaine Base from VANDIVER on August 31, 2017

       164.   On August 31,2017,CS-l,at law enforcement direction, ordered a $15,000

quantityof cocainebase from VANDIVER. CS-1 placed a recorded FaceTime call to

VANDIVER, who instructed him to meet at an apartment on Vantage Drive, Woodbridge,

Virginia. Once there, VANDIVERand a known individual ("Individual 8") entered CS-1 's

vehicle. Law enforcement followed the group to the parking lot of ANGLIN's apartment at Lost
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Canyon Court. VANDIVER exited CS-1's vehicle and, according to CS-1, VANDIVER called

ANGLIN. This was corroborated by VANDIVER's phone records. CS-1 also heard

VANDIVER call someone else and state, "I need 10." VANDIVER's toll records reveal he

contacted ANGLIN and NILES during this timeframe.

       165.   Law enforcement observed VANDIVER enter and later exit ANGLIN's residence

on Lost Canyon Court. VANDIVER, CS-1, and Individual 8 were then followed to the area of

Berlin Court, Woodbridge, Virginia. VANDIVER received a phone call and stepped out of the

vehicle. CS-1 reported VANDIVER entered an apartmentlocated on Berlin Court. When

VANDIVER returned, he told CS-1 that he just sold one (1) ounce of cocaine to people inside,

who then added 15 grams of Inositol (a cutting agent), wrapped it in aluminum foil, and baked it

in the oven on low. VANDIVER further reported "JACK" (JOHNSON) was inside. Shortly

thereafter, VANDIVER, CS-1, and Individual 8 departed the area.

       166.   Law enforcement observed JOHNSON (also known as "JACK") depart the same

area in a Kia sedan. Law enforcement had observed JOHNSON drive this vehicle on other

occasions. CS-1 later informed law enforcement that the Milla Time Bloods are using the

apartment to manufacture and distribute cocaine base andheroin. Further, JOHNSON is the

head of the Milla Time Bloods.

       167.    Law enforcement surveillance was also established on NILES on this date.

NILES was observed in a silver Range Rover at 13715 Lynn Street, Woodbridge, Virginia. Law

enforcement later learned that NILES uses apartment #16 on 13715 Lynn Street.

       168.   Meanwhile, at approximately 3:45 p.m., VANDIVER was on the phone

discussing what restaurant in the area of Potomac Mills mall they would like to meet at.

According to toll records, VANDIVER and NILES were in contact. After the phone call,
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VANDIVER instructed CS-1 to drive behind the Olive Garden restaurant. At approximately

3:49 p.m., NILES departed the Lynn Street apartments followed by law enforcement. NILES

was followed to Potomac Mills Mall where he met up with VANDIVER. A short time later,

VANDIVER exited CS-1 's vehicle and entered NILES' vehicle, VANDIVER returned to CS-

1's vehicle with approximately ten (10) ounces of cocaine,

       169.   After the transaction, NILES was followed to 15144 Cloverdale Road, where he

entered the residence. NILES then departed the residence and entered a black Ford pickup truck

and departed again. Law enforcement then followed NILES to 10532 Cooktown Road,

Spotsylvania, Virginia. NILES andthe other occupant of the vehicle drove pastthe residence

and into a wood line behind the residence. It appeared to law enforcement that NILES and the

otherindividual wereburyingsomething in the wooded area. Lawenforcement wouldalso later

learnthat NILES frequents this residence. However, law enforcement have not surveilled

NILES entering the residence; rather, NILES has onlybeen observed entering the wooded area.

       170.   Meanwhile, law enforcement continued to follow VANDIVER, CS-1, and

Individual 8 as well. The group traveled to a store and CS-1 reported VANDIVER purchased

items needed to manufacture cocaine base. The group then traveled to an apartment on Vantage

Drive and entered the apartment. Inside the apartment, VANDIVER manufactured the ten (10)

ounces of cocaine purchased from NILES into approximately thirteen (13) ounces of cocaine

base. CS-1 reported Individual 8 was present during the cookingprocess, but did not participate.

       171.   After preparing the cocaine base, CS-1 and VANDIVER departed the apartment

with the cocaine base. They reentered VANDIVER's vehicle and travelled to 15144 Cloverdale

Road. VANDIVER traveled to this residence to fmd a scale that could measure the weight of the

cocaine base. VANDIVER took CS-1 to the screened in porch area on the rear of the residence.
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VANDIVER then placed the cocaine base onto a scale. Upon reviewing the video recording, the

number "381" or "387" was displayed on the LCD screen, which indicates the weight in grams.

VANDIVER and CS-1 then returned to the apartment on Vantage Drive. The suspected cocaine

base was submitted to the DEA Mid-Atlantic Laboratory and tested positive for 369.89 grams of

cocaine base.


        II.     VANDIVER Displays New Firearms and Discusses Drue Trafficking with CS-1

        172.    On or about September5, 2017, CS-1 reported VANDIVER had sent him a

picture of an AR pistol type firearm with a red paint scheme and images of whatappeared to be

zombies. The firearm appeared to be loaded and a "SIGHTMARK" red dot or holographic sight

was attached to the top rail of the firearm.

        173.    On or about September8, 2017, CS-1 reported VANDIVERwas at ANGLIN's

residence located on Lost Canyon Courtmeasuring out a "four-deuce" (4.5 ounces) of cocaine

on the kitchen counter. CS-1 was able to photograph VANDIVERmeasuringout the cocaine.

CS-1 also took a photograph of a firearm in a box displaying "Smith &Wesson M&P" on it.

        JJ.     CS-1 Provides Intelligence on IGB and NILES and VANDIVER Sell Cocaine
                while Armed on September 23. 2017


        174.    On September 23,2017, CS-1 was visiting VANDIVER at his new apartment

located at 1288 Bayside Avenue #11, Woodbridge, Virginia. While there, CS-1 recorded

Unnamed IGB Member 4 purchasing one ounce of cocaine firom VANDIVER. VANDIVER

was also recordedpassing around an AR style pistol that he had in his possessionin the

apartment. This is believed to be the same pistol previously observed near a manufacturer's box

labeled as a Smith and Wesson M&P15-22P. 22 caliber pistol.



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       175.     VANDIVER discussed the profits that could be made trafficking firearms to New

York and mentioned that he previously sold firearms. He also mentioned purchasing firearms

with high-capacity magazines and suppressors. VANDIVER reported he got away with it, but

that quite a few people were recently arrested as part of a federal investigation into firearms

trafficking from Virginia to New York (Individual 4).

       176.     VANDIVER stated that while he was incarcerated in Rappahannock Regional

Jail, he had a Puerto Rican cellmate that could buy "birds" (kilogram of cocaine) for $10,000 to

$12,000, which they could then sell in this area for $33,000 to $35,000.

       177.     CS-1 reported there would be a potential restructuring within the UBN involving

IGB. The proposal involved the restructuring of the UBN into a northern and southern group. If

this took place, the current IGB leader would be in charge of all Blood gangs from Floridato

Philadelphia.

       178.     CS-1 reported VANDIVER is purchasing a "four deuce"(4.5 ounces of cocaine)

every day or every second day from NILES. Further, NILES now requires VANDIVERto

purchase no less than 4.5 ounces at a time. CS-1 reported that VANDIVERon some days sells

more than one "four deuce" in a day.

       179.     During the above encounter with VANDIVER, CS-1 reported he traveled with

VANDIVER to deliver cocaine to EDLER.


       KK.      VANDIVER sells Marijuana to Unnamed IGB Member 4 on September 26. 2017

       180.     CS-1 reported that while he was at 1288 Bayside Avenue #11, he observed

VANDIVER sell one pound of marijuana to Unnamed IGB Member 4. While in the apartment,

CS-1 observed four firearms to include a pistol with a fake suppressor, a red Smith & Wesson

M&P 15 .22 caliber pistol, a .357 revolver, and a derringer style pistol. CS-1 captured a
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photograph of the marijuana being sold to Unnamed IGB Member 4 prior to the transaction. CS-

1 reported VANDIVER continues to sell drugs from the apartment with his roommate.

       LL.    CS-1 Provides Intelligence on VANDIVER and NILES


       181.   On September 29, 2017, at law enforcement direction, CS-1 socialized with

VANDIVER. VANDIVER brought up Unnamed IGB Member 3 selling cocaine to CS- 4.

VANDIVER believed CS-1 was still selling cocaine base to CS-4 and that if anyone should get

their business it should be Unnamed IGB Member 3 because he has the most experience selling

cocaine.


       182.   VANDIVER received a phone call and placed it on speakerphone so CS-1 could

hear the call. VANDIVER told the caller that he attempted to purchase two (2) zips (ounces) of

cocaine from "RAY" (NILES), but NILES made him purchase four and a half VANDIVER

laterexplained to CS-1 that NILES had increased his cocaine distribution and wouldno longer

sell cocaine in amounts less than 4.5 ounces. Later that day, CS-1 observed VANDIVER sell 1/8

ounce of cocaine to Co-Conspirator 4.

       183.   On September30, 2017, CS-1 observedVANDIVERsell 1/8 oimce of cocaine to

EDLER.


       184.   On October 1,2017, CS-1 observed VANDIVER package an ounce of cocaine

while at 1288 Bayside Avenue #11 and then sell it to an individual previously observed by CS-1

at an apartment on Berlin Court.

       185.   CS-1 then travelled with VANDIVER to a co-conspirator's ("Co-Conspirator 5")

house, which is located on Point Pleasant Lane, Dumfries, Virginia, where VANDIVER sold

another oimce of cocaine to Co-Conspirator 5.


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       MM.    CS-1 Purchased Approximately 500 grams of Cocaine Hvdrochloride through
              VANDIVER and NILES from CHENNOR BAH on October 30. 2017

       186.   Law enforcement learned that NILES left the area on a one-way flight to Atlanta,

Georgia. Upon learning this information, CS-1 was directed to order a large quantity of cocaine

from VANDIVER in an attempt to have NILES direct a partner to deliver the cocaine to

VANDIVER and CS-1.


       187.   On October 30, 2017, CS-1 was provided with $20,000 in documented funds to

purchase a quantity of cocaine. Lawenforcement observed VANDIVER arrive at 1288 Bayside

Avenue #11. At law enforcement direction, CS-1 met VANDIVER there.

       188.   When CS-1 entered the apartment, CS-1 reported VANDIVER was on the phone

with CAREW and that another male was present. VANDIVER could be heard saying, "someone

brought back a bag with twenty bands in it, God is good" ($20,000). CS-1 proposed the

purchase of "half a bird" (halfa kilogram of cocaine) to VANDIVER. VANDIVER called

someone, asked for a number, and stated he would call him on his (VANDIVER's) new phone.

Call records reveal VANDIVER contacted his mother during this timeframe. CS-1 informed law

enforcement that he overheard a conversation between VANDIVER and the other male present,

in which VANDIVER informed the male that he was out of cocaine.

       189.   VANDIVER confirmed the order with CS-1 and then placed a call. CS-1

reportedVANDIVERwas calling who he believed to be NILES. VANDIVERcould be heard

asking the subject believed to be NILES, "You still out of town?" Law enforcement knew that

NILES had traveled to Atlanta prior to this date. The subject could be heard replying, "Yea."

VANDIVERthen asked, "Can I get with somebody or what?" VANDIVER stated, "Nigga, I



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need half a joint." VANDIVER then asked the male on the other end of the call, "If I want half a

joint can I get half a joint?" The subject replied, "Yea."

        190.   CS-1 agreed to a price of $20,000 for half a kilogram of cocaine (500 grams).

CS-1 was advised it would be approximately 1.5 hours imtil the cocaine was delivered.

VANDIVER informed CS-1 (law enforcement monitored) that NILES traveled to Atlanta,

Georgia to celebrate being off probation. This corroborated the above information that it was

NILES that VANDIVER contacted.


        191.   VANDIVER also reported that he (VANDIVER) had changed his phone number

because he had received numerous jail calls from inmates. VANDIVER also discussed a prior

robbery in the Summerland Apartment Complex in Woodbridge in which the victim threw a

baby at VANDIVER and that the baby hit the wall. VANDIVER stated he became very upset

and attempted to calm the baby down.

        192.   At approximately 5:41 p.m., CS-1 informedlaw enforcement that the cocaine was

currently in the parking lot and VANDIVER was in the process of counting money.

VANDIVER was observed walking out of 1288 Bayside Avenue #11 carrying a light colored

bag walking towards the dumpster area of the parking lot. A short time later, law enforcement

observed VANDIVER return to 1288 Bayside Avenue #11 carrying a different bag. A silver

Audi was observed departing the same area. Law enforcement observed this same Audi meet

with NILES on August 31, 2017, just prior to NILES selling ten (10) ounces of cocaine to

VANDIVER, who then manufactured cocaine base for CS-1.

        193.   VANDIVER returned to the apartment, where he put on rubber gloves, opened

the package, and then weighed the suspected cocaine on a digital scale. The suspected cocaine


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was observed in a plastic food saverbag. VANDIVER and CS-1 reported the cocaineweighed

approximately 502 grams.

       194.    Law enforcement followed the Audi after it departed the area to the area of 2750

Green Ash Loop, Woodbridge, Virginia. During the course of this investigation, surveillance

established that NILES uses this residence. The sole occupant of the Audi carried the light

coloredplastic bag into the building. A short time later, the same subject exited 2750 Green Ash

Loop withoutthe bag and departed in the Audi. The vehicle was then followed to the Smokey

Bones parking lot in Woodbridge. The driver of an unidentified black Dodge Challengerentered

the front passenger seat of the Audi. The parties separatedagain and the Audi was followed to a

residence on Candlewood Court, Woodbridge, Virginia. The occupant of the Audi entered the

residence, then exitedand departed again in the vehicle. The vehicle was lost by surveillance for

approximately 20 minutes.

       195.    Law enforcement re-acquired surveillance of the Audi and coordinated a traffic

stop by PWCPD. There were now two occupants in the Audi; however, law enforcement

identified the driver as the same individual observed operating the vehicle throughout this

operation. PWCPD identified the driver as CHENNOR MARLEY BAH ("BAH"). CS-1 was

later displayed a photograph of BAH and CS-1 positively identified him as an individual he saw

deliver cocaine to VANDIVER on prior occasions.

       196.    The suspected cocaine hydrochloride purchased field tested positive and was

submitted to the DEA Mid-Atlantic Laboratory to be analyzed.

       197.    After identifying BAH, a criminal history check revealed he was arrested in 2012

by the DEA for dangerous drugs in Washington, D.C. BAH was also found guilty of two felony

counts of Possession with Intent to Distribute Schedule I/II Drugs in the Commonwealth of
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Virginia on January 10,2014 and appears to be currentlyon supervised probation. A law

enforcement database check also revealed BAH had been arrested in the past with another co-

conspirator, Nathaniel BRUCE COBBOLD.

        198.   A VirginiaEmployment Commission query revealed BAH has not had reported

income since the fourth quarter of 2015.

        199.   The Audi driven by BAH had been previously observed by law enforcement

following NILES. On August 31,2017, VANDIVERordered 10 ounces ofcocaine from NILES

to manufacture into cocaine base for CS-1. Prior to NILES selling 10 ounces of cocaine to

VANDIVER in Woodbridge, Virginia, he was observed by law enforcement in Alexandria,

Virginia. There, NILES was observedpulling into a parking lot and meeting with an individual

operating the same Audi BAH was operating. NILES met with the occupant of the Audi, then

drove directly to a suspected stash house on Lynn Street in Woodbridge. From Lynn Street,

NILES was followed to the transaction with VANDIVER and CS-1.

       200.    On October 17, 2017, law enforcement observed NILES meet with a subject

believed to be BAH in the same Audi in a Walmart parking lot in Woodbridge. NILES entered

the front passenger seat of the vehicle.

       201.    On November 16,2017, law enforcement observed BAH in the same Audi arrive

and depart from his residence at 12291 Granada Way inWoodbridge. BAH was again the driver

of the vehicle and was followed from the residence to a gas station parking lot on Old Bridge Rd.

BAH parked beside a female in a silver Ford Taurus, who was then observed entering BAH's

vehicle. Approximately two minutes later, the female exited BAH's vehicle, reentered the

Taurus, and both vehicles departed the area. Based on the training and experience of the law


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enforcement officers present, the law enforcement officers believe that BAHprovided the female

with drugs..

        NN.     Social Media Role in hivestieation

        202.    During the course of this investigation, law enforcement reviewed publicly

available social media and also used undercover social media accounts. This included, but was

not limited to Facebook, Instagram, and iCloud. When available, law enforcementrecorded

social mediaposts that would not be storedby the providers. Searchwarrants were obtained for

the accounts below. Below, I highlighted only a few relevant posts from one of VANDIVER's

social media accounts.


        203.    On April 29, 2016, a video of VANDIVER and CAREW rapping in an

automobile together is shared.

        204.    On September 1, 2016, VANDIVER shared a video of himself holding a TEC-9

style pistol.

        205.    On May 24,2017, VANDIVER shared a photograph of a quantity of marijuana

with the caption, "Strain: Kush."

        206.    On July 29,2017, TERRELL sent a photograph of an Inter Ordnance

Incorporated AK47 rifle with a high-capacity drum magazine attached and several rounds of

7.62x39 ammunition next to it to VANDIVER. On August 1, 2017, CS-1 would purchase this

same firearm, determined to be stolen from Stafford County, Virginia, from TERRELL, through

VANDIVER.


        207.    On August 13, 2017, VANDIVER shared a video stating, "The police tried to get

me right? They said your boy got a warrant right? Fuck them niggas blood, we still got bands on


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deck." VANDIVER then took out bundles of money held together by rubber bands and laid

them on the ground.

        208.   On August 17, 2017, social media user "thenewbarberS" commented on a video

shared by VANDIVER. The video was of VANDIVER holding a black pistol with a flashlight

and suppressor attached. This appears to be the same pistol captured by CS-1 on the same date.

[See Paragraph 155]. VANDIVER and the user of "thenewbarber5" also had a chat conversation

on this date. VANDIVER told the user that it would cost him $1,250 for a "zone of ready"

(ounce of crack) and that it was the last he had. VANDIVER then informed the user that next

week he would have 64 grams of cocaine base form him for $1,700.

        209.   On August 18, 2017, VANDIVER shared a video of himself standing on a chair

in what appears to be the Wakewater Way address throwing money to the floor stating, "That

nigga need a job? Tell that nigga come work for God damn Bando."

       210.    On August 24, 2017, VANDIVER shared a video of himself smoking marijuana

while walking around a black Dodge Challenger.

       211.    On September 28, 2017, VANDIVER shared a photograph of himself holding

five bundled stacks of US currency and using the stacks as a pillow.

                                             Conclusion


       212.    Based upon the foregoing, I submit there is probable cause to support that on or

about April 11, 2017, in Prince William County, Virginia, within the Eastern District of Virginia

and elsewhere, ISHMIL HARDWICK, did knowingly possess a firearm, that is a Clock .40

caliber pistol, in furtherance of a drug trafficking crime for which he may be prosecuted in a

court of the United States, that is conspiracy to distribute and possess with the intent to distribute


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a mixture and substance containing a detectable amountof fentanyl, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 846, all in

violation of Title 18, United States Code, Section 924(c). I therefore request a warrant be issued

for HARDWICK's arrest.



                                              Respectfully submitted,




                                              Michael A. Femal
                                              Special Agent
                                              Bureau of Alcohol, Tobacco, Firearms and
                                              Explosives


SUBSCRIBED and SWORN to before me on                               M . 2017.
                                                     /si
                                 fheresa Carroll Buchanan
                                 united States Magistrate Judge
The Honorable Theresa Carroll Buchanan
United States Magistrate Judge




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